       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 1 of 115




                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION


 MWK RECRUITING, INC,

              Plaintiff
                                                  Case No. 1:18-cv-00444-RP
              v.

 EVAN P. JOWERS,

              Defendant


  EVAN P. JOWERS,

              Counterclaimant

              v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
KINNEY RECRUITING LLC, and
KINNEY RECRUITING LIMITED,

              Counterdefendants


                   MWK’S PROPOSED FINDINGS OF FACT
                      AND CONCLUSIONS OF LAW

      The Court held a bench trial in the above-styled and numbered case

December 6 to 8, 2021. After considering the testimony and documentary evidence,

the Court enters the following findings of fact and conclusions of law:




MWK’S FINAL PROPOSED FF&CL                                                PAGE 1
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 2 of 115




                                        Table of Contents
I.   FINDINGS OF FACT ....................................................................................... 1
     A. THE PARTIES AND NON-PARTY ENTITIES ....................................................... 1
     B. EVENTS BEFORE JOWERS AGREEMENT, DECEMBER 16, 2006 ........................ 3
     C. FORMATION AND ASSIGNMENT OF AGREEMENTS ............................................ 5
        i. Jowers Agreement ................................................................................ 5
          ii.   Forgivable Loan .................................................................................... 8
          iii. Revolving Loan ..................................................................................... 9
          iv. Further Assignments to MWK-LLC .................................................... 9
     D. JOWERS’S EMPLOYMENT AGREEMENT .......................................................... 10
        i. Choice of Law and Forum ................................................................... 10
          ii.   Duties of Recruiter and Acknowledgments ....................................... 11
          iii. Amendments to Jowers’s Compensation ........................................... 12
          iv. Expense Reimbursements .................................................................. 14
          v.    Hong Kong Four Seasons Expenses ................................................... 15
     E. PLAINTIFF’S AFFIRMATIVE CLAIMS............................................................... 16
        i. Misappropriation of Trade Secrets .................................................... 16
          ii.   Breach of Contract - Jowers Agreement ............................................ 26
          iii. 2012 Revolving Loan Agreement and Promissory Note.................... 46
          iv. 2012 Forgivable Loan and Promissory Note...................................... 48
     F. JOWERS’S REMAINING COUNTERCLAIMS ...................................................... 49
        i. Hong Kong Office Expenses ............................................................... 49
          ii.   Claim for Hui Xu Placement Fee ....................................................... 50
     G. PREVIOUSLY ADJUDICATED CLAIMS ............................................................. 50
     H. FACTS RELEVANT TO JOWERS’S AFFIRMATIVE DEFENSES ............................ 52
        i. Failure to State a Claim ..................................................................... 52
          ii.   Duress ................................................................................................. 52
          iii. Prior Material Breach......................................................................... 53
          iv. Waiver ................................................................................................. 53
          v.    Estoppel ............................................................................................... 53
          vi. Fraud ................................................................................................... 54



MWK’S FINAL PROPOSED FF&CL
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 3 of 115




            vii. Overbroad, Overlong, and Not Reasonably 130Necessary................ 55
            viii. Illegality .............................................................................................. 55
            ix. Lack of Consideration ......................................................................... 55
            x.    Rescission ............................................................................................ 55
            xi. Unclean Hands ................................................................................... 55
            xii. Unconscionability ............................................................................... 56
            xiii. Information Readily Ascertainable .................................................... 56
            xiv. Independent Development ................................................................. 56
            xv. Payment .............................................................................................. 57
      I.   ATTORNEY FEES ........................................................................................... 57
      J.   LITIGATION MISCONDUCT ............................................................................ 57
II.   CONCLUSIONS OF LAW.............................................................................. 60
      A. JURISDICTION AND VENUE ........................................................................... 60
      B. ASSIGNMENT OF AGREEMENTS ..................................................................... 61
      C. CHOICE OF LAW ........................................................................................... 63
         i. Florida Law Applies............................................................................ 63
            ii.   Estoppel - Hong Kong Law Does Not Apply ...................................... 63
      D. MWK’S CLAIMS ............................................................................................ 65
         i. Misappropriation of Trade Secrets .................................................... 65
            ii.   Revolving Loan ................................................................................... 70
            iii. Forgivable Loan .................................................................................. 71
            iv. The Jowers Agreement ....................................................................... 72
      E. JOWERS’S PLEADED DEFENSES .................................................................... 79
         i. Failure to State a Claim ..................................................................... 79
            ii.   Duress ................................................................................................. 80
            iii. Prior Material Breach......................................................................... 81
            iv. Waiver ................................................................................................. 83
            v.    Estoppel ............................................................................................... 84
            vi. Fraud ................................................................................................... 85
            vii. Overbroad, Overlong, and Not Reasonably Necessary ..................... 85
            viii. Illegality .............................................................................................. 88



MWK’S FINAL PROPOSED FF&CL
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 4 of 115




             ix. Lack of Consideration and Failure of Consideration ........................ 89
             x.    Rescission ............................................................................................ 89
             xi. Unclean Hands ................................................................................... 90
             xii. Unconscionability ............................................................................... 91
             xiii. Information Readily Ascertainable by Proper Means ....................... 91
             xiv. Independent Development ................................................................. 92
             xv. Payment .............................................................................................. 92
       F. JOWERS’S AFFIRMATIVE CLAIMS .................................................................. 93
          i. Hong Kong Office Expenses ............................................................... 93
             ii.   Hui Xu Placement Fee ........................................................................ 94

III.   RESPONSES TO JOWERS’S PROPOSED FINDINGS AND
       CONCLUSIONS .............................................................................................. 94




MWK’S FINAL PROPOSED FF&CL
           Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 5 of 115




I.     FINDINGS OF FACT

       A.       The Parties and Non-Party Entities

       1.       Evan P. Jowers (“Jowers”) is a United States citizen domiciled and

 resident in the State of Florida. (Jowers Decl. dated May 25, 2018, P-136, at ¶3-4).


       2.       Beginning in June 2003, “Jowers resided in Florida continuously for

 more than 11 years.” Even when he left Florida, Jowers had “a firm, fixed intention

 to permanently remain in Florida.” (Decl. of Jowers dated May 25, 2018, P-136, at

 ¶¶3-4).

       3.       Robert E. Kinney (“Kinney”) is a United States citizen domiciled in

 the State of Texas. (Transcript Volume I at 59 (hereinafter “Trans.” followed by a

 roman numeral to indicate the volume number)).


       4.       Counsel Holdings, Inc. (“Counsel Holdings”) is a corporation

 organized under the law of the state of Texas, formed January 1, 2019, with its

 principal place of business in Austin, Texas. (Cert. of Merger between Counsel

 Holdings and MWK, P-14; Trans. I, at 142-143).

       5.       MWK Recruiting, Inc. (“MWK-INC”) was a Texas corporation which

 was merged into Counsel Holdings effective January 1, 2019, by filing, along with

 Counsel Holdings, a Certificate of Merger with the Texas Secretary of State. (Cert.

 of Merger between Counsel Holdings and MWK-INC, P-14; Trans. I, at 142-143). 1




       1  Consistent with prior briefing, this submission will also use “MWK” to refer
 to the Kinney Recruiting entities collectively where specificity is not needed for
 clarity.


 MWK’S FINAL PROPOSED FF&CL                                                    PAGE 1
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 6 of 115




      6.     MWK Recruiting LLC (“MWK LLC”) was a Texas limited liability

company formed September 13, 2012, which was converted into MWK-INC on

March 12, 2018, by filing a Certification of Conversion of a Limited Liability

Company Converting to a Corporation with the Texas Secretary of State. (Cert. of

Conversion, P-13; Trans. I, at 142-143).

      7.     Kinney Recruiting LP (“KR-LP”) was an assumed name for Recruiting

Partners, L.P. (“RP-LP”), which was registered with the Texas Secretary of State

on April 9, 2004. (Assumed Name Cert. of RP-LP, P-1; Trans. I, at 139, 186).

      8.     Kinney Recruiting, Inc. (“KR-Inc.”) was an assumed name for

Recruiting Partners GP, Inc. (“RP-GP”). (Assumed Name Cert. of RP-GP, P-3;

Trans. I, at 140).

      9.      Kinney Recruiting LLC (“KR-LLC”) is a company for which Jowers

worked from October 15, 2012, until Jowers ceased employment with Kinney

Recruiting on December 16, 2016. Jowers conceded that KR-LLC was his final

Kinney Recruiting employer in his proposed finding of fact #1: “On December 16,

2016, Jowers resigned from Kinney Recruiting LLC, a different entity.” (Dkt. 305-4,

at 3). Jowers always received payment of his salary and commissions from the

entity that employed him during the period Jowers was employed by the Kinney

Recruiting entities, and Jowers knew what entity was paying him. (Jowers

Paystubs, P-120; Jowers W-2’s, P-15; Trans. I, at 31-36).

      10.    Counsel Unlimited LLC (“CU-LLC”) is company that loaned money to

Jowers. (Loan Agreement, P-9; Trans. I, at 168).




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 2
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 7 of 115




       11.    Kinney Recruiting Limited (“KRL-HK”) is a private limited company

organized under the laws of Hong Kong. (Trans. I, at 129).

       B.     Events Before Jowers Agreement, December 16, 2006

       12.    In February 2004, Kinney established RP-LP as a legal recruiting firm

based in Austin, Texas, which did business as Kinney Recruiting LP (KR-LP).

(Trans. I, at 139).

       13.    In the ensuing two years, Kinney hired additional recruiters, set up a

website, conducted other marketing activities, and began to implement a business

plan which included an expansion of Kinney Recruiting into Asia. (Trans. I, at 60-

61). By the spring of 2006, when he hired Jowers, Kinney had begun to develop a

network of clients and contacts in Asia. (Trans. II, at 165-167).

       14.    Kinney and Jowers were acquainted with each other from mutual prior

employment at another legal recruiting firm. (Trans. II, at 161).

       15.    From the middle of 2003 until the end of 2005, Jowers worked as in-

house counsel for a Miami-based company. Jowers worked unpaid in the position for

that last 18 months to two years, after his employer was indicted in the Eastern

District of Pennsylvania. By the time he and Kinney discussed employment with

Kinney Recruiting, Jowers was financially strapped. (Jowers, Trans. II, at 183-184).

       16.    Jowers joined Kinney Recruiting, in April 2006, and received as a base

pay a monthly salary of $3,000. (P-2, at 9, ¶2.1; Trans. I, at 63; D-10 (email

discussing the after-tax amount of salary Jowers received)). In addition, Jowers was

on a commission scale. Id. Nevertheless, as Jowers testified, after seven months, by

November of 2006, Jowers had “only made half a placement up the until that point.”


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 3
          Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 8 of 115




(Trans. II, at 176). This was the only placement Jowers made in 2006. (Trans. I,

at 63).

          17.   Jowers   was     also   provided   with   necessary   equipment   and

reimbursement for expenses, subject to approval by Kinney. (Email Between Jowers

and Kinney dated Oct. 28, 2006, D-13).

          18.   Soon after beginning to work with Kinney Recruiting, Jowers became

interested in Kinney’s work in Asia and Kinney Recruiting’s business plan for

expansion in Asia. (Email from Jowers to Kinney dated May 24, 2006, D-7; Trans. I,

at 63; Trans. II, at 165-169).

          19.   When Jowers requested that Kinney fund advertising that was

specially focused on mass marketing to candidates interested in Asia, Kinney

expressed reluctance to put the capital Jowers wanted Kinney Recruiting to commit

into the plans Jowers wanted, for fear that the investment could wind up being

wasted if Jowers later took placement candidates and clients with him after

resigning. (Trans. I, at 64-66).

          20.   On August 20, 2006, after discussions with Kinney regarding these

concerns, Jowers wrote to Kinney to say that, because of the financial backing

Jowers was seeking from Kinney, Jowers would be “happy to sign a non-compete to

give [Kinney] peace of mind.” (P-17; Trans. I, at 66).

          21.   Jowers and Kinney continued through the fall of 2006 to have

discussions regarding the terms of the arrangement by which Jowers would

continue to work for Kinney Recruiting. (Trans. II, at 175-178). Kinney




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 4
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 9 of 115




communicated various proposals to Jowers during the fall of 2006. (see, e.g., D-11;

Trans. II, at 178; Trans. I, at 64).

       22.    The discussions between Jowers and Kinney culminated in Kinney

sending Jowers a final draft an associate recruiter employment agreement in

December 2016, which Jowers signed and faxed back to Kinney. (P-19; Trans. I, at

66, 79; Trans. II, at 185-186).

       C.     Formation and Assignment of Agreements

              i.     Jowers Agreement

                     a)     Formation of Jowers Agreement

       23.    Jowers and RP-LP entered into an Associate Recruiter Employment

Agreement (the “Jowers Agreement”) effective May 1, 2006, but the document was

signed December 16, 2021. (P-2; Trans. II, at 185-186).

       24.    Jowers signed the Jowers Agreement on his own behalf. (Jowers Decl.,

P-138, at ¶4; Trans. II, at 139, 186).

       25.    Kinney signed the Jowers Agreement on behalf of RP-LP d/b/a Kinney

Recruiting LP. (P-2; Trans. I, at 64).

       26.    The Jowers Agreement states that “the Employee has freely chosen to

enter this Agreement.” (Jowers Agreement, P-2, at ¶3.7).

       27.    Jowers had an adequate opportunity to review and negotiate the

Jowers Agreement. (P-17; Trans. II, at 179-182 (Jowers describing discussions with

Kinney); Trans. I, at 84-85). Jowers agreed that he would be able to earn a

livelihood without violating the restrictions contained in the Jowers Agreement.

(Jowers Agreement, P-2, signature page).


MWK’S FINAL PROPOSED FF&CL                                                  PAGE 5
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 10 of 115




      28.    Jowers was not coerced into signing the Jowers Agreement. Kinney did

not threaten Jowers to obtain his signature on any agreement. (Trans. I, at 86;

Trans. II, at 74). Jowers testified that he had free will when he signed each

agreement and Jowers did not specify any illegal threat allegedly made by any

person to obtain his signature. (Trans. II, at 96).

      29.    Jowers understood that the agreement restricted his right to disclose

or use proprietary information of KR-LLC during or subsequent to his employment

with the company, and he understood that the Jowers Agreement restricted him

from soliciting clients and candidates for one year after his service was terminated,

or longer in the event of breach. (P-17; Trans. I, at 84-86).

      30.    The Jowers Agreement contains a merger clause at Section 14, which

states that there are “no representations, inducements, arrangements, promises, or

agreements outstanding between” the parties “other than those contained in this

Agreement.” The merger clause also explicitly supersedes any prior employment

agreements between the parties. (P-2, at ¶14.1; Trans. I, at 80).

                    b)     Assignment of Jowers Agreement to KR-LLC

      31.    The Jowers Agreement contains a provision expressly authorizing

assignment of the Jowers Agreement without prior notice to Jowers and

enforcement by the assignees and/or successors of RP-LP. (Jowers Agreement, P-2,

¶¶15.1; 19.2; Trans. I, at 140).

      32.    Effective December 31, 2007, RP-LP assigned the Jowers Agreement to

RP-GP. (Assignment to RP-GP, P-4; Trans. I, at 139-140).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 6
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 11 of 115




      33.    Jowers received notice of the assignment of the Jowers Agreement to

RP-GP. (Jowers W-2’s, P-15).

      34.    Effective as of October 16, 2012, RP-GP assigned its rights and

obligations under the Jowers Agreement to KR-LLC. (Assignment to KR-LLC, P-7;

Trans. I, at 140-141).

      35.    Jowers received notice of the assignment to KR-LLC. (Jowers W-2’s,

P-15; Trans. I, at 31).

      36.    At no point did Jowers contest the assignment of any agreement prior

to his termination of employment. (Trans. I, at 141).

      37.    After RP-GP assigned the Jowers Agreement to KR-LLC effective

October 16, 2012, Jowers was employed by KR-LLC. (cf., Paystub for 10/15/2012, P-

116, at 49 (payor, RP-GP); Paystub for 10/31/2012, P-116, at 52 (payor, KR-LLC)).

      38.    Jowers’s employer until his resignation on December 16, 2016, was

Kinney Recruiting LLC. (Trans. I, at 173; Jowers’s Proposed Finding of Fact, Dkt.

305-4, at 3, ¶1). Jowers wrote to Kinney on February 3, 2016, confirming he

understood his employer was KR-LLC, and not any Hong Kong entity. (Trans. I,

at 35-36).

      39.    Jowers delivered a resignation letter to Kinney on December 16, 2016,

at approximately 1 pm Central Time in the United States. At the time Jowers

submitted his resignation letter, he was in Korea, and the time there was 15 hours

ahead of Central Time, approximately 4 am December 17, 2016. (Trans. I, at 37).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 7
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 12 of 115




             ii.     Forgivable Loan

                     a)       Formation of Forgivable Loan

      40.    On February 1, 2012, Jowers and RP-GP entered into a Forgivable

Loan Agreement (the “2012 Forgivable Loan Agreement”). (P-5; Trans. I,

at 178).

      41.    Jowers signed the 2012 Forgivable Loan Agreement on his own behalf

and of his own free will. (Trans. II, at 95-96).

      42.    Jowers signed 2012 Forgivable Loan Agreement of his own free will,

after writing to Kinney with regard to the loan, “I agree with that strategy. Sure, it

is great for me to get a nice deserved bonus, but not worth it for you if someone in

my shoes takes a big bonus after a great year and then splits.” (P-37; Trans. I, at

179-180; Trans. II, at 96).

      43.    The 2012 Forgivable Loan Agreement does not prohibit assignment of

the Agreement, nor does it require notice of any assignment to be provided to

Jowers. It also does not require that demand be made prior to declaration of default.

(P-5, at 6 (promissory note)).

      44.    The 2012 Forgivable Loan Agreement has an associated promissory

note in the original face amount of $50,000 (the “2012 Forgivable Loan

Promissory Note”), which is signed by Jowers as the debtor. (P 5, at 6 of 7;

Trans. I, at 178).

      45.    Jowers signed the 2012 Forgivable Loan Promissory Note on his own

behalf and of his own free will. (Trans. II, at 96).




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 8
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 13 of 115




                    b)     Assignment of Forgivable Loan to KR-LLC

      46.    RP-GP assigned its rights and obligations under the 2012 Forgivable

Loan and the 2012 Forgivable Loan Promissory Note to KR-LLC effective

October 16, 2012. (Assignment to KR-LLC, P-7; Trans. I, at 140-141).

             iii.   Revolving Loan

      47.    On November 1, 2012, Jowers and CU-LLC entered into a Loan

Agreement (the “2012 Revolving Loan Agreement”). (P-9; Trans. I, at 168).

      48.    Jowers signed the 2012 Revolving Loan Agreement on his own behalf.

(Trans. II, at 69, 101; P-141, at ¶19). Kinney signed on behalf of CU-LLC. (Trans. I,

at 168).

      49.    The 2012 Revolving Loan Agreement has an associated promissory

note in the original face amount of $150,000 (the “2012 Revolving Loan

Promissory Note”), which Jowers also signed as the debtor. (P-8; Trans. II, at 69).

      50.    The 2012 Revolving Loan Agreement has an associated security

agreement (the “2012 Revolving Loan Security Agreement”), which Jowers also

signed as the debtor. (P-10; Trans. II, at 69).

             iv. Further Assignments to MWK-LLC

      51.    On January 31, 2017, KR-LLC assigned its rights, obligations, and

claims under the Jowers Agreement, the 2012 Forgivable Loan Agreement, and the

2012 Forgivable Loan Promissory Note to MWK-LLC. (P-11; Trans. I, at 141-142

and 164-165).

      52.    Also on January 31, 2017, CU-LLC assigned its rights, obligations and

claims under the 2012 Revolving Loan Agreement, the 2012 Revolving Loan


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 9
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 14 of 115




Promissory Note, and the 2012 Revolving Loan Security Agreement to MWK-LLC.

(P-12; Trans. I, at 173-176).

      53.      After merging with MWK-INC, Counsel Holdings is the current owner

of all claims against Jowers under the Jowers Agreement, the 2012 Forgivable Loan

Agreement, the 2012 Forgivable Loan Promissory Note, the 2012 Revolving Loan

Agreement, the 2012 Revolving Loan Promissory Note, and the 2012 Revolving

Loan Security Agreement, as well as all other claims KR-LLC has against Jowers

and “any other person acting in concert with them in misappropriating intellectual

property and trade secrets of” KR-LLC and CU-LLC. (P-11; P-12; Trans. I, at 177).

      54.      Counsel Holdings is the holder of the 2012 Forgivable Loan Promissory

Note and the 2012 Revolving Loan Promissory Note. Id.

      D.       Jowers’s Employment Agreement

               i.    Choice of Law and Forum

      55.      The Jowers Agreement states that “controversies, claims, disputes or

matters in questions arising out of or relating to this Agreement shall be construed,

governed, and enforced in accordance with the laws of Florida.” (Jowers Agreement,

P-2, ¶12.1).

      56.      Jowers expressly agreed in the contract of employment at issue in this

case “to the exclusive personal jurisdiction and venue of any court in Travis County,

Texas and waive[d] any defense” to personal jurisdiction and venue of any court in

Travis County, Texas. (Jowers Agreement, P-2, ¶13.1; Order on Motion to Dismiss,

Dkt. 87, at 14).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 10
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 15 of 115




      57.    As of the date that this suit was removed to this Court, Jowers was a

resident of Florida and “not a citizen of any other country or jurisdiction.” According

to Jowers, at that time he did not have “any type of visa for Hong Kong,” even

though he was “an attorney recruiter in Hong Kong…with Legis Ventures,” and had

“been since December 2016.” (Jowers Decl., P-136, at ¶¶2-3). 2

             ii.    Duties of Recruiter and Acknowledgments

      58.    The Jowers Agreement specified Jowers’s duties as an Associate

Recruiter, his initial compensation, and other terms of his employment in detail.

(Jowers Agreement, P-2).

      59.    The Jowers Agreement contains an acknowledgement by Jowers that

his employer would expend time and money establishing relationships and good will

with existing and prospective clients and candidates. (P-2, at ¶3.4). One of Jowers’s

duties under the Jowers Agreement was to help establish these relationships and

good will for his employer, not for himself.

      60.    Jowers acknowledged that he did not need to accept employment under

the Jowers Agreement. (P-2, at ¶3.6). He also acknowledged under bold-faced

wording that he was signing without duress or coercion, and that the agreement

restricted his use of proprietary information “during or subsequent to” his




      2 Jowers testified about his fear of arrest while working for Kinney Recruiting
in Hong Kong with no Hong Kong work permit. (Trans. II, at 201-202). The
relevance of this testimony is not clear, but the assertion is not credible. According
to his declaration filed in this case May 25, 2018, more than 18 months after his
resignation, Jowers had continued working in Hong Kong for Legis Ventures with
no work visa. (Jowers Decl., P-136, at ¶¶2-3).


MWK’S FINAL PROPOSED FF&CL                                                    PAGE 11
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 16 of 115




employment, and that he would be prohibited from soliciting customers. (P-2,

at 7-8).

             iii.   Amendments to Jowers’s Compensation

       61.   The Jowers Agreement was a contract for at-will employment,

terminable by either party at any time, subject to survival of certain confidentiality

and non-competition provisions. (Jowers Agreement, P-2, ¶11.1).

       62.   The Jowers Agreement contains an “Exhibit A” detailing Jowers’s

compensation. (Jowers Agreement, P-2, Exhibit A).

       63.   The Jowers Agreement stated that Jowers’s compensation would be

pursuant to the terms contained in Exhibit A and stated: “Exhibit A may be

modified from time to time as the Company, in it is sole discretion, deems

appropriate, provided that no such modification may be applied retroactively.”

(Jowers Agreement, P-2, ¶6.1).

       64.   Each pay period, Jowers’s employer calculated the total gross

commissions for Jowers based on his current “Net Cash In” as of the close of payroll,

then deducted commissions and draw/salary previously paid to Jowers. These

calculations were reflected on Jowers’s “commission spreadsheets.” The commission

spreadsheets also showed the names of the candidates placed, the clients they were

placed with, Jowers’s percentage credit for the relevant placements, the

commissions paid, and other information about outstanding loans, draw balances,

etc. Jowers also received a paystub showing tax deductions along with each

commission spreadsheet. (Commission Spreadsheets 2008-2016, P-112 to P-120). If

Jowers had questions regarding the calculations, he would ask. (See, e.g., Email


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 12
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 17 of 115




from Jowers to Renee Sommers requesting clarification, P-40, at 5). Kinney or his

bookkeeper would reconcile any differences between the amounts calculated by

MWK’s bookkeeper and by Jowers. (P-40; Trans. I, at 68-74).

      65.    During the entirety of his employment with MWK, Jowers was a W-2

employee and Florida resident, and taxes were withheld from his net pay and

remitted to the IRS with each payroll by his employer. (P-15; Trans. I, at 31-34).

      66.    Between the date that Jowers began working under the Jowers

Agreement and January 2011, several changes to Jowers’s compensation structure

occurred. Jowers acquiesced each change. (See, e.g., Email of January 28, 2009, D-

49; Trans. II, at 191 (Jowers testifying that he was “fine with” a change to 62.5%

commissions in 2008)). That Jowers felt he “had no choice” regarding whether to

acquiesce was due to his financial situation. (Trans. II, at 68-69, 194-198).

      67.    Although not required by the Jowers Agreement, Kinney obtained

Jowers’s agreement to each change in his compensation structure prior to the

changes taking effect. (See, e.g., Trans. I, at 195; 200; Trans. II, at 48-49).

      68.    In each case when there was a modification of Jowers’s compensation,

the adjustment was not retroactive and Jowers’s employer performed consistent

with the terms of the modification by paying Jowers as agreed. (Trans. I, at 67-68).

      69.    During and at all times after January 2011 until his resignation,

Jowers’s top commission rate was 50%. Jowers was aware of the 50% top

commission rate. (Email to Jowers re no agreement to pay 60%, P-158; Email from

Jowers acknowledging “45 to 50% deal,” P-159 at 2; Trans. I, at 68).




MWK’S FINAL PROPOSED FF&CL                                                        PAGE 13
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 18 of 115




             iv.    Expense Reimbursements

      70.    Jowers and his employer agreed that the Company would pay usual

and ordinary expenses incurred by Jowers in connection with the recruiting

business. (P-2, at ¶2.2).

      71.    From early in his employment with Kinney Recruiting in 2006, Jowers

was aware that his expenses were subject to approval before being reimbursed.

(Trans. II, at 179; 181-182 (Jowers describing expenses he was required to pay

portions of)). The Jowers Agreement did not change the requirement that his

expenses be approved by Kinney prior to reimbursement. (Trans. I, at 39, 242).

      72.    Between June of 2015 and the termination of his employment, Jowers

submitted expense reports totaling $92,625.55. (Expense reports submitted by

Jowers seeking reimbursement of expenses totaling $92,625.55, P-35).

      73.    Of the $92,625.55 of expenses Jowers submitted for reimbursement in

2015 and 2016, Jowers was reimbursed $90,883.63 by means of his employer adding

the reimbursements to six separate paychecks through October 31, 2016. (Jowers’s

paystubs for 2015-2016 showing expense reimbursements totaling $90,883.63, P-

36). Specifically, KR-LLC reimbursed Jowers 1) $38,197.94 by means of an addition

to Jowers’s payroll on December 31, 2015; 2) $2,147.00 by means of an addition to

Jowers’s payroll on February 12, 2016; 3) $4,550.93 by means of an addition to

Jowers’s payroll on June 30, 2016; 4) $8,387.23 by means of an addition to Jowers’s

payroll on July 15, 2016; 5) $8,230.72 by means of an addition to Jowers’s payroll on

September 15, 2016; and 6) $29,370.06 by means of an addition to Jowers’s payroll

on October 31, 2016. Id.


MWK’S FINAL PROPOSED FF&CL                                                  PAGE 14
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 19 of 115




       74.    The Court finds that KR-LLC reimbursed Jowers all of the usual and

ordinary expenses involved in the operation of Jowers’s business during 2015 and

2016. (Trans. II, at 240-243; P-36).

              v.       Hong Kong Four Seasons Expenses

       75.    With regard to the expense for Jowers’s housing in Hong Kong, Jowers

was aware before incurring the costs that he was not going to be reimbursed for the

costs of the Four Seasons hotel stays. Kinney informed Jowers that MWK was not

going to pay for Jowers’s stay in the Four Seasons in Hong Kong, and that Jowers

would have to pay for the costs or borrow the money to do so. MWK established a

$30,000 “zero interest” loan for Jowers to pay for the hotel charges without

incurring interest, to the extent that he was able to keep the balance below $30,000.

(Trans. I, at 39-40; Trans. II, at 14-15). MWK would have had no reason to establish

such a loan except that Jowers had asked for a low-interest loan to pay for his

housing. Jowers acknowledged that he authorized all charges to the revolving loan.

(Trans. II, at 102).

       76.    Although Kinney sent Jowers a draft of a contract of employment that,

if it had been executed, would have made Jowers an employee of Kinney Recruiting

Limited, that contract was never executed and did not come into force. (Trans. II, at

28-34; Trans. II, at 225-226 (Jowers testifying that he was “losing faith” because

Kinney had not signed”). Even had the contract been consummated, there was no

language in the contract that required Jowers’s expenses his employer did not deem

usual and ordinary to be reimbursed. (Hong Kong draft agreement, D-313, at ¶2.3).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 15
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 20 of 115




      E.     Plaintiff’s Affirmative Claims

             i.     Misappropriation of Trade Secrets

      77.    Within the scope of his employment, Jowers accessed and developed

valuable confidential information regarding clients and candidates of his employer,

creating and using lists of candidates for placement and clients where those

placements could occur which included extensive information about those

candidates and clients. (Trans. I, at 145). By virtue of his contractual obligations, all

information Jowers developed in the scope of his employment regarding attorney

candidates who could be placed and client firms where such attorney candidates

could be placed was proprietary information of Jowers’s employer within the

meaning of the Jowers Agreement. (P-2, at ¶1.4, 1.5, 1.6, 3.2, 3.3, 3.4, 3.8, 4.3, 4.4,

4.5). Jowers was obligated before and after termination of his employment not to

retain copies of his employer’s proprietary information and not to use or disclose

such information without express authorization to do so. (P-2, at ¶7.1, 7.2).

      78.    As an employee, Jowers’s efforts to work on making placements of

candidates were efforts Jowers made on behalf of his principal, which in 2016 was

KR-LLC. Jowers worked for years on many of the relationships he possessed at

MWK, some of which relationships would become valuable placements. (Trans. II,

at 141).

      79.    The information regarding candidates who wanted to be placed in new

positions that Jowers received during his employment with Kinney Recruiting was

a compilation of highly sensitive information about those candidates which

contained financial and client-related information about attorneys’ law practices


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 16
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 21 of 115




that would drive any new law firm’s decision to interview and hire those candidates.

(Trans. I, at 165-168).

      80.       This information was not generally known outside of the individual

who shared the information and Kinney Recruiting.

      81.       Kinney Recruiting did not give any authorization to Jowers to share

information about the candidates in question. (Trans. I, at 144; 165-168; Trans. II,

at 154).

      82.       The information that Jowers shared was valuable to him and to his

competitors, as was indicated by the fact that Jowers designated, during the

discovery process in this case, the email messages he had sent to clients prior to and

after his departure from the employment of Kinney Recruiting as “attorneys eyes

only” pursuant to the protective order in this case, indicating that the sensitivity of

the information had longevity. (P-149; P-57; Trans. I, at 116).

      83.       Jowers used his private email address to hide his actions and make it

difficult for him to be found. As Jowers testified, he took a “risk” by sharing

information directly with law firm clients in a way that could be discovered later.

(Trans. II, at 157). Jowers knew he was required to maintain the information at

issue secret.

                      a)    Steve Kang

      84.       Jowers first met Mr. Steven Kang while working for Kinney

Recruiting. (Trans. II, at 139-141; Deposition of Latham, P-130, at 16:6 to 16:18).




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 17
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 22 of 115




      85.    While still employed by KR-LLC, on September 7, 2016, Jowers met

with Mr. Steven Kang, a partner and head of the Korea practice at Freshfields

Bruckhaus Deringer, an international law firm. Jowers obtained confidential

information regarding Mr. Kang at that meeting regarding his interest in changing

positions, placing Mr. Kang on Kinney Recruiting’s candidate list. (Trans. II, at 142-

143; Deposition of Latham, P-130, at 16:19 to 17:1).

      86.    During his employment by KR-LLC, Jowers contacted Latham

regarding Mr. Kang’s candidacy using a private email address to send the message

to, evanjowers@yahoo.com, and provided confidential information regarding Mr.

Kang belonging to KR-LLC to Latham from that address. (Deposition of Latham &

Watkins, P-130, at 17:2 to 17:3; Jowers Emails to/from S Cooke, Dec. 9-12, 2016,

P-56; Trans. II, at 87-88; 145-160; 242-250).

      87.    Jowers obtained from representatives of Latham detailed information

which would enable him to make a match of Steve Kang to Latham and permit that

firm to have the best chance of consummating a transaction with Mr. Kang, as well

as similarly detailed information from Mr. Kang. (Trans II, 145-160).

      88.    Latham began discussions with Mr. Kang based on the confidential

information that Jowers shared with Latham from his personal email address while

Jowers was still employed by KR-LLC. (Trans. II, at 153-154). Jowers intentionally

hid this information from his employer. (Id.)

      89.    On December 14, 2016, in preparation for an upcoming interview of

Mr. Kang by Latham, Jowers sent to a representative of Latham further




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 18
          Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 23 of 115




confidential information about Mr. Kang in order to promote Mr. Kang’s candidacy.

(P-57).

      90.       Following his resignation on December 16, 2016, Jowers then followed

up with representatives of Latham on December 30, 2016, forwarding the same

information he had previously sent from his private email address on December 14,

2016. (P-57).

      91.       The email messages Jowers sent to representatives of Latham during

his employment with KR-LLC contained specific information about Mr. Kang’s

practice and interest in moving firms that was not generally known to the public

and not readily ascertainable by proper means. (Trans. II, at 158-159).

      92.       When Jowers sent the email messages to Latham regarding Mr. Kang,

he was under a duty to maintain the confidentiality of that information for his

employer and not to use that information to trade for his own account. (P-2, at ¶7.2).

      93.       The email messages Jowers sent to representatives of Latham during

his employment with KR-LLC resulted in interviews for Mr. Kang and his eventual

placement at Latham & Watkins. (Deposition of Latham & Watkins, at 6:16-7:15).

      94.       The email messages Jowers sent to representatives of Latham resulted

in a fee of 1,342,492 Hong Kong dollars being paid to Legis Ventures on August 7,

2017. (Deposition of Latham & Watkins, at 6:16-7:15).

      95.       Legis Ventures is a recruiting firm founded by Evan Jowers and

Alejandro Vargas. (Trans. II, at 116-117).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 19
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 24 of 115




      96.      By submitting Mr. Kang to Latham & Watkins from his private email

address instead of his email address at KR-LLC, Jowers materially breached the

Jowers Agreement and deprived his employer of the fee resulting from Mr. Kang’s

placement at Latham & Watkins.

                    b)    James Chang

      97.      While still employed by KR-LLC, Jowers also obtained confidential

information regarding candidate James Chang, including the details of Mr. Chang’s

review by his supervising partners on December 7, 2016, and placed Mr. Chang on

Kinney Recruiting’s candidate list. (Email Messages Between Jowers and J Chang,

P-97; P-59).

      98.      Shortly after his resignation, Jowers shared this same information

about Mr. Chang (including the results of his review by supervising partners) with

DLA Piper and asked DLA Piper’s managing partner in Hong Kong to consider

interviewing Mr. Chang on the basis of that information. (P-61, at 1-4; Deposition of

DLA Piper, P-126, at 10:14-12:21).

      99.      The email messages Jowers sent to representatives of DLA Piper

contained specific information about Mr. Chang’s practice and interest in moving

firms that was not generally known to the public and not readily ascertainable by

proper means, which Jowers had a duty to keep confidential because it had been

received by Jowers during his employment with KR-LLC. (Exhibit to Deposition of

DLA Piper, P-61, at 1).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 20
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 25 of 115




      100.   The email Jowers sent to representatives of DLA Piper regarding

James Chang resulted in an interview for Mr. Chang and his eventual placement at

DLA Piper. (Deposition of DLA Piper, P-126, at 10:14-12:21).

      101.   The email Jowers sent to representatives of DLA Piper regarding

James Chang resulted in a fee of 798,034 Hong Kong dollars being paid to Legis

Ventures on December 12, 2017. (Deposition of DLA Piper, P-126, at 12:3-12:21).

                   c)     Rose Zhu

      102.   While still employed by KR-LLC, in October 2016, Jowers obtained

confidential information regarding Rose Zhu regarding her practice size, clients,

and collections from clients, as well as her reasons for seeking a move of firms, her

current compensation, and other information relevant to obtaining interviews for

Ms. Zhu, and placed Ms. Zhu on Kinney Recruiting’s candidate list. Jowers used

that information to market Ms. Zhu to Kirkland & Ellis on behalf of Kinney

Recruiting. (Emails to/from Kirkland & Ellis representative, P-62).

      103.   Shortly after his resignation, Jowers sent the same confidential

information regarding Ms. Zhu he had sent to Kirkland & Ellis to representatives of

Pillsbury Winthrop Shaw Pittman (HK) LLP, Winston & Strawn, and Baker &

McKenzie. (Email to Pillsbury, P-63, at 2-3; Email to Winston & Strawn, P-64;

Email to Baker & McKenzie, P-65).

      104.   Jowers recognized the continuing secret nature of the information

regarding Ms. Zhu’s practice as of the time he produced it in discovery in this case,




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 21
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 26 of 115




as evidenced by the “Attorneys’ Eyes Only” designation on the information as

produced by Jowers. (P-65).

      105.   The information Jowers sent regarding Ms. Zhu contained specific

information about Ms. Zhu’s practice and interest in moving firms that was not

generally known to the public and not readily ascertainable by proper means, which

had been received by Jowers during his employment with KR-LLC. Sending this

information resulted in an interview for Ms. Zhu and her eventual placement at

Baker & McKenzie. Jowers had a duty not to reveal this information to third parties

except for the benefit of Kinney Recruiting. (Deposition of Baker & McKenzie,

P-122, at 8:2-9:4).

      106.   The placement of Rose Zhu at Baker & McKenzie LLP occurred on or

about May 17, 2017, and a fee of 453,600 Hong Kong dollars was paid by Baker &

McKenzie for such placement to Legis Ventures. (P-93, at 1-7; Deposition of Baker

& McKenzie, P-122, at 8:2-9:4).

                      d)   Longhao Wang

      107.   Also prior to Jowers’s resignation, Longhao Wang sent a notification to

Kinney Recruiting of his interest in becoming a candidate of Kinney Recruiting and

provided specific information relevant to his interest in moving, thereby becoming a

person on the Kinney Recruiting candidate list. The information was not generally

known to the public and was not readily ascertainable by proper means. (P-69).

      108.   Also prior to Jowers’s resignation, Mr. Vargas emailed Latham &

Watkins regarding Mr. Wang, and provided Latham the same specific information




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 22
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 27 of 115




regarding Mr. Wang and his interest in moving firms that was not generally known

to the public, which he had received from Jowers during Jowers’s employment with

KR-LLC. This information was not readily ascertainable by proper means. (P-69).

       109.     Jowers provided information regarding Mr. Wang to Mr. Vargas, his

partner, for further action, prior to resigning from Kinney Recruiting. (P-53).

       110.     Mr. Vargas continued to submit Mr. Wang as a candidate to other

firms, including Gibson Dunn, Simpson Thacher, and Latham & Watkins, which is

where Mr. Wang was eventually hired. (P-69).

       111.     Jowers and Mr. Vargas secured Mr. Wang’s placement at Latham &

Watkins on or about September 24, 2018, and a fee of 390,000 Hong Kong dollars

was paid by that firm to Legis Ventures. (Deposition of Latham & Watkins, P-130,

at 7:16-8:7).

                      e)    Pamela Usukumah

       112.     Prior to Jowers’s resignation, Pamela Usukumah provided Jowers with

confidential information which constituted specific information not generally known

to the public, which Jowers had a duty to keep confidential and which was not

readily ascertainable by proper means. (P-71).

       113.     Jowers knew of Ms. Usukumah from the marketing investment of

Kinney Recruiting. (Trans. II, at 250-251).

       114.     Jowers passed Ms. Usukumah’s confidential information and materials

to Mr. Vargas. (P-53). Mr. Vargas submitted Ms. Usukumah as a candidate to

Latham & Watkins, Ropes & Gray, and other firms, including Morrison & Foerster.




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 23
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 28 of 115




(P-73, P-74, P-75). When Mr. Vargas obtained feedback from the firms following his

submissions, he reported it to Jowers. (P-74).

      115.   Jowers continued pursuing the placement of Ms. Usukumah following

his resignation and placed Ms. Usukumah at Morrison & Foerster. (Trans. II, at

250-251).

      116.   The placement of Ms. Usukumah at Morrison & Foerster occurred on

or about August 1, 2017, and a fee of 458,893 Hong Kong dollars was paid by that

firm to Legis Ventures. (P 102, at 1-4; Deposition of Morrison & Foerster, P-132, at

6:23-8:12)

                   f)     Meng Ding

      117.   While still employed by KR-LLC, Jowers received specific information

from Meng Ding regarding his career, his partnership prospects, his experience, and

what would motivate Mr. Meng to move firms. Despite Mr. Jowers’s avowed failure

to put the information he possessed regarding Mr. Meng into the Kinney Recruiting

databases, Mr. Meng was part of the candidate list of Kinney Recruiting prior to

Jowers’s resignation, along with the information associated with him, which was

not generally known to the public or readily ascertainable by proper means. (Trans.

II, at 259-260).

      118.   Mr. Meng sent this information to Jowers, instructing him to “please

keep these in strict confidence.” Jowers acknowledged the confidential nature of the

information in his response to Mr. Meng, sent while Jowers was still employed by

KR-LLC. (P-77; P-78).




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 24
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 29 of 115




      119.   Following his resignation, Jowers continued to market Mr. Meng to

client firms of KR-LLC using the same confidential information he had obtained

prior to his resignation. (P-79).

      120.   Jowers submitted Mr. Meng to Kirkland & Ellis using the confidential

information regarding Mr. Meng he had obtained prior to his resignation from KR-

LLC. The submission by Jowers sent to Kirkland & Ellis resulted in an interview

for Mr. Meng and his eventual placement at Kirkland & Ellis. When Jowers

produced that email message in the discovery phase of this case, he marked it

“Attorneys’ Eyes Only,” signifying its continuing value and secrecy. (P-80)

      121.   Jowers placed Meng Ding at Kirkland & Ellis LLP on or about

November 16, 2017, and a fee of 878,765 Hong Kong dollars was paid by that firm to

Legis Ventures. (Deposition of Kirkland & Ellis, P-129, at 8:2-9:4).

                    g)      Summary of Trade Secret Damages

      122.   By sending out the information that he did regarding the candidates

who were on the Kinney Recruiting candidate list with specific, confidential

information, Jowers breached his duties under the Jowers Agreement to maintain

the confidentiality of that information. (Trans. I, at 143-149).

      123.   Alejandro Vargas assisted Jowers in the breach of his duties to MWK.

(P-67; P-69; P-73; P-74).

      124.   The information contained in the Kinney Recruiting candidate list was

valuable information belonging to MWK, not Jowers.




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 25
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 30 of 115




        125.   The total amount of the fees earned by Jowers and his company, Legis,

from the placement of Steve Kang, Rose Zhu, James Chang, Pamela Usukumah,

Longhao Wang, and Meng Ding, was $559,444.99, based on the rates of exchange

for the dates the payments were made. (Trans. I, at 76-77; P-163; Mot. re Judicial

Notice of Exchange Rates, Dkt. 337).

        126.   As damages, Counsel Holdings is seeking disgorgement of the

$559,444.99 in fees earned by Jowers and Jowers Vargas for the placement of Steve

Kang, Rose Zhu, James Chang, Pamela Usukumah, Longhao Wang, and Meng

Ding.

        127.   MWK also seeks exemplary damages, attorney fees, and costs.

(Trans. I, at 167).

               ii.     Breach of Contract - Jowers Agreement

                       a)   Breaches prior to Resignation

        128.   Jowers breached his confidentiality (P-2, at ¶3.2) and non-competition

(P-2, at ¶4.4) obligations under the Jowers Agreement in September 2016, prior to

his resignation on December 16, 2016 (US Central Time), by sending the

confidential candidate information regarding Steve Kang directly to Latham &

Watkins LLP, using his private email address. (P-57; Dep. of Latham & Watkins, P-

130, at 16:19-17:3).

        129.   Jowers also breached the same obligations by sending confidential

information regarding KR-LLC’s candidates to Alejandro Vargas, a competitor of

KR-LLC, for further transmission to KR-LLC’s clients. (P-53; P-69; P-73; P-74).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 26
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 31 of 115




       130.   Jowers did not produce email from his personal email account,

evanjowers@yahoo.com, in response to discovery requests in this case; rather, what

email was produced in this case from the evanjowers@yahoo.com email account

came from subpoenaed information from MWK’s clients. Jowers blames his

attorneys for failing to produce the requested information. (Trans. II, at 84-87).

       131.   As a result of his failure to honor his obligations under the Jowers

Agreement, Jowers caused KR-LLC a loss of goodwill of clients and candidates of

MWK.

                    b)    Legitimate Business Interests Protected

       132.   The reason for the restrictive covenants in the Jowers Agreement was

to protect certain legitimate business interests of Kinney Recruiting. (P-2, at

¶¶3.3, 3.4; Trans. I, at 65-66; 81-88). MWK invested in a specific marketing or trade

area for the benefit of Jowers at Jowers’s request and urging: the Asia legal hiring

market. As a result of the development of substantial goodwill associated with

MWK’s ongoing business, Jowers developed substantial relationships with specific

clients and candidates of MWK. (P-20, P-21). Jowers also was expected to and did

come into the possession of valuable confidential information regarding candidates

and clients, some of which constituted trade secrets of his employer. When Jowers

wrote to Kinney in August 2006 to offer him “peace of mind” by suggesting that he

would be willing to sign a “non-compete,” Jowers intended to induce investment by

MWK that would allow him to develop the very relationships, goodwill, and

confidential/trade secret information he ultimately was able to develop. (Id.; P-17).




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 27
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 32 of 115




Specifically, Jowers’s signature on the Jowers Agreement induced investment by

MWK in development of its business in Asia through Jowers, such as investment in

advertising in the Asia Chronicles publication on Above the Law. (Trans. II, at 25;

47-48; 211). MWK also paid for substantial travel expenses of Jowers to see clients

and candidates. (P-35). Much of Jowers’s time as a recruiter is spent advising

specific attorneys with whom he has developed substantial relationships on their

careers, as well as on their hiring practices. (Trans. II, at 211-212). By its very

nature, it takes substantial time to accomplish the placement of a candidate in the

legal recruiting industry. (Jowers Decl., P-143; Trans. I, at 88). MWK, as Jowers’s

employer, paid for development of the goodwill, relationships, and confidential

information that constituted its legitimate business interests, such as by paying for

publication of the Asia Chronicles publication on abovethelaw.com. (Trans. II, at

25).

                    c)    Limitations on Scope of Restrictions

       133.   The scope of the non-solicitation covenant at issue in this case is

limited and was narrowly tailored to cover only the work that Jowers was involved

with. For example, the restrictive covenant only covered services provided by

Jowers in the personnel placement service business; a former employee could

provide other types of services for the same entities that were covered by the

restrictive covenant. (P-2, at ¶8.2; Trans. I, at 82-86). Further, the restriction only

applied to candidates and clients for whom Jowers had had contact, knowledge or

access during the year prior to his termination of employment. Id.            Counsel




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 28
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 33 of 115




Holdings seeks only to enforce the non-solicitation covenant as to the clients and

candidates with which Jowers had contact during the year prior to his termination.

(Trans. II, at 50). This is a narrowly tailored restrictive covenant.

                     d)    One Year Restrictive Covenant

         134.   For one year following termination of his employment, Jowers was

prohibited under the Jowers Agreement from soliciting or providing services to any

candidate or client with whom he had contact, knowledge, or access during the

twelve months immediately preceding the effective date of termination, and from

assisting any entity other than the Company in doing so. (Jowers Agreement, P 2

¶8.1).

         135.   Jowers resigned his employment with KR-LLC on December 16, 2016.

(Dkt. 305-4, at 3, ¶1). Jowers had contact with each of the following clients of MWK

between December 17, 2015, and December 16, 2016: Allen & Overy (P-20, at 58),

Baker & McKenzie LLP (P-20, at 14, 16), Cleary Gottlieb Steen & Hamilton LLP (P-

20, at 11), Cooley LLP (P-20, at 1), Covington & Burling (P-20, at 25, 28), DLA Piper

LLP (P-20, at 61), Gibson, Dunn & Crutcher LLP (P-20, at 65), Gunderson Dettmer

(P-20, at 24, 37-39), Kirkland & Ellis LLP (P-20, at 54), Latham & Watkins LLP (P-

20, at 40), Linklaters (P-20, at 52), Morrison & Foerster, LLP (P-20, at 64),

Skadden, Arps, Slate, Meagher & Flom, LLP (P-20, at 33), and Weil, Gotshal &

Manges, LLP (P-20, at 57). (Summary Slide, P-161)

         136.   Jowers had contact with each of the following candidates of MWK

between December 17, 2015, and December 16, 2016: Kevin Cooper (P-20, at 3),




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 29
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 34 of 115




Ferish Patel (P-20, at 24), Ingram Weber (P-20, at 34), Rose Zhu (P-20, at 70),

Nicole (Wenhan) Ma (P-20, at 25-32), James Chang (P-20, at 71-77), Jason (Jiaxing)

Xu (P-20, at 40-41), Meng Ding (P-77; P-78), Steve (Wonsuk) Kang (P-20, at 14;

Trans. II, at 142-143; Deposition of Latham, P-130, at 16:19 to 17:1), Benjamin Su

(P-20, at 40), Longhao Wang (P-69), Amit Singh (P-20, at 58), Pamela Usukumah

(P-71), and Steve Sha (P-20, at 11). (Summary Slide, P-160).

                    e)     Tolling of Length of Restrictive Covenant

      137.   Pursuant to the Jowers Agreement, for any period during which

Jowers engages in activities constituting a violation of the restrictive covenants,

including assistance provided to any other entity, the one-year period following

termination automatically extended to include such additional period. (Jowers

Agreement, P-2, at ¶¶8.1, 9.4).

      138.   Legis Ventures is a company that Jowers founded, organized under the

laws of Hong Kong. (P-88). Jowers controls Legis Ventures and Legis Ventures is

the vehicle by which placement activity that Jowers has assisted with has been

conducted. (Emails to/from Legis Accountant, P 91; Dep. of Alexis Lamb, P-135, at

61:11-62:15; Trans. II, at 85, 122, 126-127).

      139.   “Jowers Vargas” is the trade name by which Jowers operates Legis

Ventures, Jowers Vargas LLC, a Florida company, and Jowers Langer, LLC, also a

Florida company, each of which is involved in the personnel placement business for

attorneys. (Trans. II, at 117-119).




MWK’S FINAL PROPOSED FF&CL                                                PAGE 30
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 35 of 115




         140.   Jowers assists with each of the placements that are made by Jowers

Vargas. (Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to

83:4; 97:10-98:6;12 to 122:16 to 123:6).

         141.   On April 19, 2017, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 1;

Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;

97:10-98:6;12 to 122:16 to 123:6). Weil Gotshal was a firm Jowers had had contact

with in the course of providing personnel placement services during the one year

period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).

         142.   On September 14, 2017, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 2;

Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;

97:10-98:6;12 to 122:16 to 123:6). Weil Gotshal was a firm Jowers had had contact

with in the course of providing personnel placement services during the one year

period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).

         143.   On February 12, 2018, Jowers solicited or assisted Jowers Vargas in

soliciting Latham & Watkins LLP as a client for personnel placement services. (P-

21, at 3-7; Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19

to 83:4; 97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had

had contact with in the course of providing personnel placement services during the

one year period prior to his resignation on December 16, 2016. (See, above, at 29,

¶133).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 31
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 36 of 115




         144.   On March 14, 2018, Jowers solicited or assisted Jowers Vargas in

soliciting Latham & Watkins LLP. (P-21, at 8-9; Trans. II, at 128:4-130:13; Dep. of

Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4; 97:10-98:6;12 to 122:16 to 123:6). This

was a client of KR-LLC Jowers had had contact with in the course of providing

personnel placement services during the one year period prior to his resignation on

December 16, 2016. (See, above, at 29, ¶133).

         145.   On March 15, 2018, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 9-10;

Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;

97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had had

contact with in the course of providing personnel placement services during the one

year period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).

         146.   On July 30, 2018, Jowers solicited or assisted Jowers Vargas in

soliciting Latham & Watkins LLP as a client for personnel placement services. (P-

21, at 12-19; Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19

to 83:4; 97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had

had contact with in the course of providing personnel placement services during the

one year period prior to his resignation on December 16, 2016. (See, above, at 29,

¶133).

         147.   On March 20, 2019, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 20;

Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 32
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 37 of 115




97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had had

contact with in the course of providing personnel placement services during the one

year period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).

         148.   On October 7, 2019, Jowers solicited or assisted Jowers Vargas in

soliciting Latham & Watkins LLP as a client for personnel placement services. (P-

21, at 21-26; Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19

to 83:4; 97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had

had contact with in the course of providing personnel placement services during the

one year period prior to his resignation on December 16, 2016. (See, above, at 29,

¶133).

         149.   On July 17, 2020, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 27;

Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;

97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had had

contact with in the course of providing personnel placement services during the one

year period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).

         150.   On November 16, 2020, Jowers solicited or assisted Jowers Vargas in

soliciting Weil Gotshal as a client for personnel placement services. (P-21, at 28). (P-

21; Trans. II, at 128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4;

97:10-98:6;12 to 122:16 to 123:6). This was a client of KR-LLC Jowers had had

contact with in the course of providing personnel placement services during the one

year period prior to his resignation on December 16, 2016. (See, above, at 29, ¶133).




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 33
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 38 of 115




      151.   By virtue of the above-listed actions, the period of the restrictive

covenants contained in the Jowers Agreement extended by their terms to November

16, 2021.

                    f)   Placements Made in Violation of Non-Solicitation
                         Covenant

      152.   Jowers placed, or assisted Jowers Vargas in the placement of, Ryan

Grimm at Gunderson Dettmer on or about March 6, 2017, and a fee of 58,750

United States dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Gunderson Dettmer, P-128, at 8:18-10:2; P-99, at 21-22; Trans. II, at

128:4-130:13; Dep. of Alexis Lamb, at 78:11 to 78:14; 82:19 to 83:4; 97:10-98:6;12 to

122:16 to 123:6).

      153.   Jowers placed, or assisted Jowers Vargas in the placement of, Rose

Zhu at Baker & McKenzie LLP on or about May 17, 2017, and a fee of 453,600

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Baker & McKenzie, P-122, at 8:2-9:4; P-93, at 1-7).

      154.   Jowers placed, or assisted Jowers Vargas in the placement of, Congsi

Wu at Baker & McKenzie LLP on or about May 17, 2017, and a fee of 84,209 Hong

Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Baker & McKenzie, P-122, at 9:5-10:4; P-93, at 8-10).

      155.   Jowers placed, or assisted Jowers Vargas in the placement of, James

Chang at DLA Piper UK LLP on or about August 1, 2017, and a fee of 798,034

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 34
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 39 of 115




(Deposition of DLA Piper, P-126, at 10:14-12:21; P 61, at 1-4; Alexis Lamb

Deposition, P-135, at 112:22-113:19).

       156.   Jowers placed, or assisted Jowers Vargas in the placement of, Steve

(Wonsuk) Kang at Latham & Watkins LLP on or about June 28, 2017, and a fee of

1,342,492 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Latham & Watkins, P-130, at 6:16-7:15; P-58, at 4-9).

       157.   Jowers placed, or assisted Jowers Vargas in the placement of, Jolyn

Ang at Gunderson Dettmer on or about July 5, 2017, and a fee of 351,462 Hong

Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Gunderson Dettmer, P-128, at 6:21-8:17; P 99, at 1-2, 15-16).

       158.   Jowers placed, or assisted Jowers Vargas in the placement of,

Jennifer (Xiafei) Liu at Latham & Watkins LLP on or about August 14, 2017, and

a fee of 458,250 Hong Kong dollars was paid by that firm for such placement to

Legis Ventures. (Deposition of Latham & Watkins, P-130, at 8:8-8:24; P 58, at 15-

19).

       159.   Jowers placed, or assisted Jowers Vargas in the placement of,

Zhonghua (Stephen) Shi at Latham & Watkins LLP on or about August 31, 2017,

and a fee of 78,249.50 Hong Kong dollars was paid by that firm for such placement

to Legis Ventures. (Deposition of Latham & Watkins, P-130, at 8:25-9:16; P 58, at

20-23).

       160.   Jowers placed, or assisted Jowers Vargas in the placement of, Pamela

Usukumah at Morrison & Foerster, LLP on or about August 1, 2017, and a fee of




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 35
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 40 of 115




458,893 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Morrison & Foerster, P-132, at 6:23-8:12; P 102, at 1-4;

Alexis Lamb Deposition, P-135, at 111:4-112:21).

       161.   Jowers placed, or assisted Jowers Vargas in the placement of, Nicole

(Wenhan) Ma at Covington & Burling LLP on or about July 10, 2017, and a fee of

45,000 United States dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Covington & Burling, D-5, at 7:17-8:18; P 96, at 1-3).

       162.   Jowers placed, or assisted Jowers Vargas in the placement of, Mengqi

Zhang at Weil, Gotshal & Manges LLP on or about September 11, 2017, and a fee

of 351,528 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Weil Gotshal, P-134, at 7:4-8:7; P 104, at 1-4).

       163.   Jowers placed, or assisted Jowers Vargas in the placement of, Jason

(Woo-Jong) Lim at Cleary Gottlieb Steen & Hamilton LLP on or about October 9,

2017, and a fee of 351,264 Hong Kong dollars was paid by that firm for such

placement to Legis Ventures. (Deposition of Cleary, P-123, at 7:9-8:23; P 94, at 1-

24).

       164.   Jowers placed, or assisted Jowers Vargas in the placement of, Judy

Huang at Kirkland & Ellis LLP on or about October 3, 2017, and a fee of 507,747

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Kirkland & Ellis, P-129, at 8:10-9:22; P 100, at 1).

       165.   Jowers placed, or assisted Jowers Vargas in the placement of, Olivia

Wang at Kirkland & Ellis LLP on or about October 9, 2017, and a fee of 158,232




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 36
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 41 of 115




Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Kirkland & Ellis, P-129, at 9:23-11:6; P 100, at 2-3).

      166.   Jowers placed, or assisted Jowers Vargas in the placement of,

Xunming Lim at Allen & Overy LLP on or about June 8, 2018, and a fee of 80,729

United States dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Allen & Overy, P-121, at 8:2-9:1; Alexis Lamb Deposition, P-135, at

140:21-140:25).

      167.   Jowers placed, or assisted Jowers Vargas in the placement of, Meng

Ding at Kirkland & Ellis LLP on or about November 16, 2017, and a fee of 878,765

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Kirkland & Ellis, P-129, at 11:7-12:12; P 100, at 4-5).

      168.   Jowers placed, or assisted Jowers Vargas in the placement of, Chuan

Liu at Morrison & Foerster, LLP on or about January 15, 2018, and a fee of 459,463

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Morrison & Foerster, P-132, at 8:13-9:25; P 102, at 5-9).

      169.   Jowers placed, or assisted Jowers Vargas in the placement of,

Benjamin Su at Latham & Watkins LLP on or about February 12, 2018, and a fee

of 1,960,360 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Latham & Watkins, P-130, at 9:17-10:9; P 58, at 24-28;

Alexis Lamb Deposition, P-135, at 136:19-136:21).

      170.   Jowers placed, or assisted Jowers Vargas in the placement of, Aster

(Yi) Lin at Latham & Watkins LLP on or about April 9, 2018, and a fee of 353,239




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 37
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 42 of 115




Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Latham & Watkins, P-130, at 10:10-10:25; P 58, at 29-34; Alexis

Lamb Deposition, P-135, at 138:7-138:22).

      171.   Jowers placed, or assisted Jowers Vargas in the placement of, Samson

(Shansang) Peng at Latham & Watkins LLP on or about April 19, 2018, and a fee

of 353,194 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Latham & Watkins, P-130, at 11:1-11:16; P 58, at 35-44).

      172.   Jowers placed, or assisted Jowers Vargas in the placement of,

Vanessa Ho at Gunderson Dettmer on or about April 18, 2018, and a fee of 45,000

United States dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Gunderson Dettmer, P-128, at 10:3-11:8; P 99, at 3-6, 25; Alexis

Lamb Deposition, P-135, at 139:10-139:14).

      173.   Jowers placed, or assisted Jowers Vargas in the placement of, Ingram

Weber at Allen & Overy LLP on or about May 16, 2018, and a fee of 56,000 United

States dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Allen & Overy, P-121, at 6:24-8:1; Alexis Lamb Deposition, P-135, at

139:15-140-11).

      174.   Jowers placed, or assisted Jowers Vargas in the placement of, Kevin

Chow at Latham & Watkins LLP on or about July 16, 2018, and a fee of 460,677.25

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Latham & Watkins, P-130, at 11:17-12:9; P 58, at 45-52; Alexis Lamb

Deposition, P-135, at 78:8-78:12, 142:1-142:8).




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 38
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 43 of 115




      175.   Jowers placed, or assisted Jowers Vargas in the placement of, Jason

(Jiaxing) Xu at Gibson, Dunn & Crutcher LLP on or about July 23, 2018, and a fee

of 427,900 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Gibson Dunn, P-127, at 6:23-8:8; P 98, at 1-3; Alexis Lamb

Deposition, P-135, at 142:1-142:8).

      176.   Jowers placed, or assisted Jowers Vargas in the placement of,

Longhao Wang at Latham & Watkins LLP on or about September 24, 2018, and a

fee of 390,000 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Latham & Watkins, P-130, at 7:16-8:7; P 58, at 10-14;

Alexis Lamb Deposition, P-135, at 143:2-143:6).

      177.   Jowers placed, or assisted Jowers Vargas in the placement of, Cecile

Yang at Morrison & Foerster, LLP on or about November 5, 2018, and a fee of

428,450 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Morrison & Foerster, P-132, at 10:1-11:16; P 102, at 10-13;

Alexis Lamb Deposition, P-135, at 85:17-87:2).

      178.   Jowers placed, or assisted Jowers Vargas in the placement of, Amit

Singh at Linklaters on or about November 10, 2018, and a fee of 3,045,767 Hong

Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Linklaters, P-131, at 16:3-17:19; P 101, at 15-19; Alexis Lamb

Deposition, P-135, at 143:10-143:13).

      179.   Jowers placed, or assisted Jowers Vargas in the placement of, Michele

Discepola at Linklaters on or about November 10, 2018, and a fee of 646,230 Hong




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 39
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 44 of 115




Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Linklaters, P-131, at 14:11-16:2; P 101, at 14).

      180.      Jowers placed, or assisted Jowers Vargas in the placement of, Valerie

Wood at Gunderson Dettmer on or about February 25, 2019, and a fee of 30,000

United States dollars was paid by that firm for such placement to Jowers Langer

LLC. (Deposition of Gunderson Dettmer, P-128, at 11:15-13:15; P 99, at 23-24;

Alexis Lamb Deposition, P-135, at 144:16-145:14).

      181.      Jowers placed, or assisted Jowers Vargas in the placement of, Gillian

Teo at Morrison & Foerster, LLP on or about February 7, 2019, and a fee of

431,524.35 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Morrison & Foerster, P-132, at 11:17-13:7; P 102, at 14-18;

Alexis Lamb Deposition, P-135, at 83:19-85:16).

      182.      Jowers placed, or assisted Jowers Vargas in the placement of, Christie

Mok at Linklaters on or about January 28, 2019, and a fee of 379,698 Hong Kong

dollars was paid by that firm for such placement to Legis Ventures. (Deposition of

Linklaters, P-131, at 7:11-9:2; P 101, at 1-3; Alexis Lamb Deposition, P-135, at

80:13-80:23).

      183.      Jowers placed, or assisted Jowers Vargas in the placement of, Calvin

Soon at Linklaters on or about March 25, 2019, and a fee of 250,010 Hong Kong

dollars was paid by that firm for such placement to Legis Ventures. (Deposition of

Linklaters, P-131, at 12:16-14:10; P 101, at 10-13).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 40
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 45 of 115




      184.   Jowers placed, or assisted Jowers Vargas in the placement of, Brian

Snyder at Morrison & Foerster, LLP on or about March 4, 2019, and a fee of

814,437 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Morrison & Foerster, P-132, at 13:8-14:23; P 102, at 19-23;

Alexis Lamb Deposition, P-135, at 88:24-89:14).

      185.   Jowers placed, or assisted Jowers Vargas in the placement of,

Brittany Nicely (Chiang) at Gunderson Dettmer on or about May 7, 2019, and a

fee of 50,000 United States dollars was paid by that firm for such placement to

Jowers Langer LLC. (Deposition of Gunderson Dettmer, P-128, at 13:16-15:15; P 99,

at 9-12; Alexis Lamb Deposition, P-135, at 147:16-148:12).

      186.   Jowers placed, or assisted Jowers Vargas in the placement of,

Lianchen (Claire) Liu at Linklaters on or about April 14, 2020, and a fee of

62,224.80 Singapore Dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Linklaters, P-131, at 10:20-12:15; P 101, at 7-9).

      187.   Jowers placed, or assisted Jowers Vargas in the placement of, Eric Xu

at Morrison & Foerster, LLP on or about May 6, 2019, and a fee of 180,000 Hong

Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Morrison & Foerster, P-132, at 14:24-16:15; P 102, at 24-28).

      188.   Jowers placed, or assisted Jowers Vargas in the placement of, Erika

Tang at Gibson, Dunn & Crutcher LLP on or about June 24, 2019, and a fee of

597,037.50 Hong Kong dollars was paid by that firm for such placement to Legis




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 41
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 46 of 115




Ventures. (Deposition of Gibson Dunn, P-127, at 8:9-9:7; P 98, at 4-6; Alexis Lamb

Deposition, P-135, at 148:13-149:4).

      189.   Jowers placed, or assisted Jowers Vargas in the placement of,

Constantinos Pappas at Gibson, Dunn & Crutcher LLP on or about August 5,

2019, and a fee of 55,000 United States dollars was paid by that firm for such

placement to Jowers Langer LLC. (Deposition of Gibson Dunn, P-127, at 10:7-11:23;

P 98, at 10-12; Alexis Lamb Deposition, P-135, at 149:21-150:6, 151:2-152:23).

      190.   Jowers placed, or assisted Jowers Vargas in the placement of, Kyle

Menges at Gunderson Dettmer on or about August 5, 2019, and a fee of 50,000

United States dollars was paid by that firm for such placement to Jowers Langer

LLC. (Deposition of Gunderson Dettmer, P-128, at 15:16-17:15; P 99, at 19-20;

Alexis Lamb Deposition, P-135, at 156:1-156:11).

      191.   Jowers placed, or assisted Jowers Vargas in the placement of, Ferish

Patel at Cooley LLP on or about July 29, 2019, and a fee of 3,170,352 Hong Kong

dollars was paid by that firm for such placement to Legis Ventures Ventures.

(Deposition of Cooley, P-124, at 6:18-7:15; P 95, at 1-2; Alexis Lamb Deposition, P-

135, at 149:5-149:20).

      192.   Jowers placed, or assisted Jowers Vargas in the placement of, Rui Xie

at Gibson, Dunn & Crutcher LLP on or about September 23, 2019, and a fee of

371,925 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Gibson Dunn, P-127, at 9:8-10:6; P 98, at 7-9; Alexis Lamb

Deposition, P-135, at 156:12-156:23).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 42
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 47 of 115




      193.   Jowers placed, or assisted Jowers Vargas in the placement of, Samson

(Shansang) Peng at Skadden, Arps, Slate, Meagher & Flom, LLP on or about

September 24, 2019, and a fee of 46,980 United States dollars was paid by that firm

for such placement to Legis Ventures. (Deposition of Skadden, P-133, at 8:10-9:15).

      194.   Jowers placed, or assisted Jowers Vargas in the placement of, James

Jackson at Cooley LLP on or about September 30, 2019, and a fee of 637,199.06

Hong Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Cooley, P-124, at 7:17-8:16; P 95, at 3-4; Alexis Lamb Deposition, P-

135, at 157:6-157:11).

      195.   Jowers placed, or assisted Jowers Vargas in the placement of, Stan

(Wang) Yao at Skadden, Arps, Slate, Meagher & Flom, LLP on or about November

4, 2019, and a fee of 47,095 United States dollars was paid by that firm for such

placement to Legis Ventures. (Deposition of Skadden, P-133, at 9:16-10:8; Alexis

Lamb Deposition, P-135, at 159:2-159:21).

      196.   Jowers placed, or assisted Jowers Vargas in the placement of, Yiting

Li at Skadden, Arps, Slate, Meagher & Flom, LLP on or about November 12, 2019,

and a fee of 47,500 United States dollars was paid by that firm for such placement

to Legis Ventures. (Deposition of Skadden, P-133, at 10:9-11:2; Alexis Lamb

Deposition, P-135, at 159:24-160:22).

      197.   Jowers placed, or assisted Jowers Vargas in the placement of, John

Maselli at DLA Piper LLP (US) on or about November 18, 2019, and a fee of

125,000 United States dollars was paid by that firm for such placement to Jowers




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 43
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 48 of 115




Langer LLC. (Deposition of DLA Piper, P-126, at 12:22-15:8; P 61, at 5-11; Alexis

Lamb Deposition, P-135, at 160:23-161:15).

      198.   Jowers placed, or assisted Jowers Vargas in the placement of, Tae

Hun Kim at Linklaters on or about October 14, 2019, and a fee of 603,510.60 Hong

Kong dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Linklaters, P-131, at 9:3-10:19; P 101, at 4-6).

      199.   Jowers placed, or assisted Jowers Vargas in the placement of, Miae

Woo at Cooley LLP on or about January 13, 2020, and a fee of 217,637 Hong Kong

dollars was paid by that firm for such placement to Legis Ventures. (Deposition of

Cooley, P-124, at 9:16-10:13; P 95, at 7-9; Alexis Lamb Deposition, P-135, at 161:16-

161:23).

      200.   Jowers placed, or assisted Jowers Vargas in the placement of,

Khadijah Owens at Gunderson Dettmer on or about March 2, 2020, and a fee of

50,000 United States dollars was paid by that firm for such placement to Jowers

Langer LLC. (Deposition of Gunderson Dettmer, P-128, at 18:25-20:17; P 99, at 17-

18; Alexis Lamb Deposition, P-135, at 118:3-118:22).

      201.   Jowers placed, or assisted Jowers Vargas in the placement of, Kevin

Cooper at Cooley LLP on or about March 20, 2020, and a fee of 232,500 United

States dollars was paid by that firm for such placement to Legis Ventures.

(Deposition of Cooley, P-124, at 8:17-9:15; P 95, at 5-6; Alexis Lamb Deposition, P-

135, at 161:24-162:20).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 44
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 49 of 115




      202.   Jowers placed, or assisted Jowers Vargas in the placement of, Qi

Zhang at Weil, Gotshal & Manges, LLP on or about March 9, 2020, and a fee of

368,870 Hong Kong dollars was paid by that firm for such placement to Legis

Ventures. (Deposition of Weil Gotshal, P-134, at 8:8-9:10; P 104, at 5-8).

      203.   Jowers placed, or assisted Jowers Vargas in the placement of, Jason

Li at Gunderson Dettmer on or about April 13, 2020, and a fee of 50,000 United

States dollars was paid by that firm for such placement to Jowers Langer LLC.

(Deposition of Gunderson Dettmer, P-128, at 17:16-18:24; P 99, at 13-14; Alexis

Lamb Deposition, P-135, at 132:4-132:20).

                    g)    Summary of Breach of Contract Damages

      204.   Jowers and Kinney negotiated a liquidated damages clause which

provided that “the Employee shall pay to the Company, upon demand, as liquidated

damages…any fee paid for services rendered in violation of [the restrictive

covenants], whether paid to the Employee or to any other person, firm, or entity;

plus all costs and expenses, including reasonable attorney’s fees, incurred by the

Company in the enforcement of its rights relating to such violation.” (Jowers

Agreement, P 2 ¶9.1). The Court has already found that Jowers waived the right

challenge the merits of the liquidated damages clause. (Dkt. 285, at 10-12).

      205.   As Jowers testified at trial, the liquidated damages under the Jowers

Agreement do not constitute all the placement fees earned by Jowers and others he

assisted. (Trans. II, at 81 (Jowers: “I don’t even want it out there in the public that

I’ve only made 53 placements…”). The liquidated damages also do not cover all




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 45
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 50 of 115




scenarios in which there was a breach by Jowers, nor do they compensate MWK for

all damages that occurred if, for example, Jowers or his new colleagues worked to

place a candidate or client, maintaining her goodwill, but did not place her,

triggering damages. (Trans. I, at 135; 148-149).

      206.   MWK’s total demonstrated liquidated damages under the Jowers

Agreement in United States Dollars is $4,034,337.97. (P-162; Motion for Judicial

Notice of Exchange Rates, Dkt. 337). MWK seeks this amount as damages for its

breach of contract claims, as well as attorney fees and costs.

      207.   MWK does not seek double recovery of damages sustained as a result

of Jowers’s misappropriation of trade secrets related to the trade secret candidates

he took as “live deals,” unless awarded as exemplary damages. (Trans. I, at 183).

             iii.   2012 Revolving Loan Agreement and Promissory Note

      208.   Jowers signed the 2012 Revolving Loan Promissory Note, which was

issued pursuant to the 2012 Revolving Loan Agreement. (Trans. II, at 101).

      209.   By his signature on the 2012 Revolving Loan Promissory Note, Jowers

waived grace, diligence, presentment, demand, notice of demand, dishonor, notice of

dishonor, protest, notice of protest, and all exemption rights against the

indebtedness evidenced by the note. (P-8, at 4).

      210.    Counsel Holdings is the successor in interest to the assignee of the

2012 Revolving Loan Agreement, 2012 Revolving Loan Promissory Note, and the

2012 Revolving Loan Security Agreement. (Trans. I, at 77).

      211.   Jowers authorized all charges to the 2012 Revolving Loan that were

presented to him in accountings he received each pay period. (Trans. II, at 102). He


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 46
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 51 of 115




received those accountings twice per month. (Trans. I, at 73-74; 170). When Jowers

had questions about the amounts on his loan accountings, he would inquire and the

questions would be reconciled. (Trans. I, at 74).

      212.   Other than the amount of commissions he was credited for the

placement of a candidate named Hui Xu, Jowers does not dispute any specific

charges or credits recorded by Counsel Holdings on the 2012 Revolving Loan.

(Trans. II, at 102-104). Jowers has not provided his own accounting for the amounts

owed under the 2012 Revolving Loan. (Trans. I, at 150-151).

      213.   On December 15, 2016, CU-LLC applied a credit to Jowers’s balance on

the 2012 Revolving Loan of $147.85 following a payroll deduction of $30,147.85.

(P-120, at 61).

      214.   On December 16, 2016, when Jowers resigned, he was in default under

the 2012 Revolving Loan Agreement, by virtue of the cross-default provisions in the

2012 Revolving Loan agreement and Jowers’s default on the Forgivable Loan. (P-9,

at ¶5.9; Trans. I, at 175-176).

      215.   There was a separate $30,000 loan from KR-LLC to Jowers

outstanding at the time of Jowers’s resignation. (P-39; Trans. I, at 39-41; 231-232).

The remaining $30,000.00 of the $30,147.85 December 15, 2016, payroll deduction

was applied to pay off the $30,000.00 “zero-interest” loan. (Trans. I, at 39-41).

      216.   On January 31, 2017, MWK applied a credit of $41,009 to the balance

on the 2012 Revolving Loan, representing full credit for Jowers’s portion of the Hui

Xu placement fee. (P-165; Trans. I, at 53-56).




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 47
          Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 52 of 115




          217.   Further transactions between CU-LLC, MWK, and Jowers gave rise to

continuing indebtedness of Jowers to MWK under the 2012 Revolving Loan

Agreement. After applying all offsets and applicable interest, as of January 31,

2017, Jowers owed $8,001.84 under the 2012 Revolving Loan Agreement. (P-165;

Trans. I, at 53-56; 176-177).

          218.   Following his resignation from KR-LLC on December 16, 2016, Jowers

was in default under the 2012 Revolving Loan Agreement. Jowers has not paid and

remains in default under the 2012 Revolving Loan Agreement. (Trans. I,

at 77, 176-177).

          219.   The daily rate of interest accruing on the indebtedness under the 2012

Revolving Loan Agreement since January 31, 2017, is 0.047222222%, or $3.78 per

day based on the principal balance of $8,001.84. As of December 6, 2021, Jowers

had total indebtedness of $14,690.04 under the 2012 Revolving Loan. (Trans. I, at

176-177).

          220.   As damages on this claim, MWK is seeking $14,690.04, plus interest

growing at $3.78 per day from December 6, 2021, plus attorney fees and costs.

(Trans. I, at 177-178).

          221.   Attorney fees, as well as costs are due MWK under the 2012 Revolving

Loan Agreement. (P-9, at ¶7.3, 7.10).

                 iv.   2012 Forgivable Loan and Promissory Note

          222.   The 2012 Forgivable Loan Agreement created a $50,000 indebtedness

of Jowers effective February 1, 2012, when Jowers received the $50,000. (Trans. II,

at 97).


MWK’S FINAL PROPOSED FF&CL                                                    PAGE 48
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 53 of 115




      223.   The indebtedness was forgivable over nine years pro rata. Under the

2012 Forgivable Loan Agreement and the 2012 Forgivable Loan Promissory Note

signed by Jowers, Jowers’s termination of his employment on December 16, 2016,

the remaining indebtedness became “immediately due and payable.” (Trans. II, at

96; P-5, at ¶ 6(a), (b)). By failing to pay, Jowers was in default. No demand for

payment by the lender was required due to Jowers’s waiver contained in the

promissory note. (P-5, at 6).

      224.   Jowers did not dispute at trial that, as of December 6, 2021, the

balance on the loan was $25,982.18, growing at 1.17% simple interest per annum.

(Trans. II, at 100; P-164).

      225.   Jowers has made no further payments on the 2012 Forgivable Loan

since it came due and Jowers remains in default. (Trans. I, at 181).

      226.   Jowers admitted he lacks any defense to payment of the balance owed

on the 2012 Forgivable Loan. (Trans. II, at 99).

      227.   MWK is seeking $25,982.18, plus interest growing at 78.7 cents per

day from December 6, 2021, as well attorney fees and costs. (Trans. I, at 182).

      F.     Jowers’s Remaining Counterclaims

             i.     Hong Kong Office Expenses

      228.   On summary judgment, the Court held that there were material fact

issues regarding whether MWK was contractually required to pay for Jowers’s

housing expenses in Hong Kong. (Dkt. 285, at 8-10). As found above at page 15,

there was no agreement by MWK to pay these expenses of Jowers. The purported

Hong Kong contract was never executed, as it would have had to be in order to be


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 49
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 54 of 115




enforceable. Even if it had been executed, that contract would not have changed the

amount of discretion Jowers’s employer had to reimburse only usual and ordinary

expenses, as determined by Kinney. Finally, Jowers was never surprised by the

refusal to reimburse his expenses – Kinney set up an interest-free loan for Jowers

so that he could incur the expenses as a lower cost. (See, above, at 15).

      229.   Even if Jowers had established that his claim for Hong Kong expenses

might have validity, Jowers did not present an accounting of the expenses in

question or any other clear evidence from which the Court could determine what

expenses were unreimbursed. (See, MWK’s Pretrial Objections, Dkt. 306, at 8-9).

             ii.    Claim for Hui Xu Placement Fee

      230.   Following reconsideration of its initial summary judgment order, the

Court determined that a genuine fact issue existed as to the retroactive reduction of

the Hui Xu commission. (Dkt. 314, at 8).

      231.   The Court finds that Jowers was credited with the full value of his

commission for the Hui Xu placement fee as of January 31, 2017, $41,009. Initially,

Jowers was not credited with this commission, because MWK exercised its right to

hold back amounts owed to Jowers under the Jowers Agreement, due to his

admitted breaches of that agreement. Later, MWK retroactively applied the credit

as of January 31, 2017. (P-2, at 10, ¶¶4.3, 4.4, and 4.5 ; Trans. I, at 40-43; 53-59;

170-174).

      G.     Previously Adjudicated Claims

                    a)     Judgment on the Pleadings (Rule 12(c))




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 50
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 55 of 115




         232.   Jowers original Count V (Fraud) was dismissed in its entirety by the

Court in ruling on MWK’s Motion for Judgment on the Pleadings. (Dkt. 229, at

7-14).

         233.   Jowers’s original Counts VI and VII (Civil RICO) were also dismissed

by the Court in ruling on MWK’s Motion for Judgment on the Pleadings. (Dkt. 229,

at 14-16).

         234.   Jowers’s original Count VIII (declaratory relief) was dismissed by the

Court in ruling on MWK’s Motion for Judgment on the Pleadings. (Dkt. 229, at 17).

         235.   Jowers’s original Count X (veil piercing) was also dismissed by the

Court in ruling on MWK’s Motion for Judgment on the Pleadings. (Dkt. 229, at 17-

18).

                      b)    Summary Judgment Rulings

         236.   The Court granted summary judgment that Jowers’s contract claims

are governed by a four-year statute of limitations and any claims based on events

before August 19, 2015, are time barred. (Order on MSJ, Dkt. 285, at 7-8).

         237.   The Court has granted summary judgment against Jowers on his

claims for unpaid bonuses. (Order on MSJ, Dkt. 285, at 10). MWK objected to

several of Jowers’s exhibits and his apparent attempt to introduce testimony

regarding allegedly unpaid bonuses. (Dkt. 306, at 6). Jowers nevertheless devoted a

considerable portion of his testimony to discussion of bonuses he alleges should

have been paid. (see, e.g., Trans. II, at 113 (Jowers describing a bonus as a

“guaranteed bonus”). These claims were not a subject of the trial in this case.




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 51
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 56 of 115




       238.   The Court has granted summary judgment against Jowers on his

claims about commissions from 2014 to 2016, other than the claim for commission

on the placement of Hui Xu. (Order on MSJ, Dkt. 285, at 11-12; Order on Motion for

Recon., Dkt. 314, at 7-8). These claims were not a subject of the trial in this case.

       239.   The Court has granted summary judgment against Jowers on his

claims regarding promissory estoppel, including claims that Kinney would sponsor,

obtain, and pay for a Hong Kong work visa for Jowers. (Order on MSJ, Dkt. 285, at

12-14). These claims were not a subject of the trial in this case.

       240.   The Court has granted summary judgment against Jowers on his

claims for usury. (Order on MSJ, Dkt. 285, at 14-15). These claims were not a

subject of the trial in this case.

       241.   The Court has granted summary judgment against Jowers on his

claims for unjust enrichment. (Order on MSJ, Dkt. 285, at 15-16). These claims

were not a subject of the trial in this case.

       H.     Facts Relevant to Jowers’s Affirmative Defenses

              i.     Failure to State a Claim

       242.   The Court ruled on Jowers’s Motion for Judgment on the Pleadings on

December 8, 2020. (Dkt. 229). None of MWK’s claims were dismissed. The Court

further ruled on Jowers’s Motion for Summary Judgment on August 24, 2021. (Dkt.

285). Summary judgment was not granted on any of MWK’s claims against Jowers.

              ii.    Duress

       243.   Jowers admitted he was not physically coerced by Kinney to obtain his

signature to any of the agreements he signed. (Trans. Vol. II, at 74). Jowers


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 52
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 57 of 115




presented no evidence at trial of any other improper or unlawful conduct or threat

of improper or unlawful conduct by any party in order to obtain his acquiescence to

any of the agreements at issue in this case. At most, Jowers described that he was

in a financially inferior position to Kinney and felt that because of this he had no

choice but to agree or lose his job. (Trans. II, at 68-69).

              iii.   Prior Material Breach

       244.   Amendments to Jowers’s compensation were agreed in each case and

Jowers acquiesced to all amendments to his compensation and the terms of his

employment. (See, above, at pages 12 to 13, ¶¶61 to 69).

              iv.    Waiver

       245.   MWK did not behave in a way that indicated voluntary relinquishment

of any of its rights under the Jowers Agreement, the 2012 Revolving Loan, or the

2012 Forgivable Loan. Regarding its confidential information, MWK required all of

its employees to sign confidentiality agreements. (Trans. I, at 186).

              v.     Estoppel

       246.   None of MWK or its related entities’ actions were ever intended to

communicate to Jowers that his course of conduct in breaching the Jowers

Agreement would be overlooked, ignored, approved, or affirmed in any manner.

       247.   Jowers was not ignorant of any material true facts pertinent to the

claims against him, nor was his knowledge of the situation so impaired as to

support any reasonable reliance on his part that MWK or its related entities’ ever

intended to overlook, ignore, approve, or affirm his infringing conduct in any

manner. To the contrary, as Jowers testified, he knew he was taking a “big risk”


MWK’S FINAL PROPOSED FF&CL                                                 PAGE 53
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 58 of 115




when he decided to violate his obligations under the Jowers Agreement. (Trans. II,

at 157).

               vi.   Fraud

        248.   There is no material fact within the Jowers Agreement that was

misrepresented to Jowers by Kinney, RP-LP, nor any subsequent employer by

assignment of the Jowers Agreement.

        249.   There is no material fact within the Forgivable Loan Agreement or

associated Promissory Note that was misrepresented to Jowers by RP-GP or KR-

LLC.

        250.   There is no material fact within the Revolving Loan Agreement or

associated Promissory Note and Security Agreement that was misrepresented to

Jowers by CU-LLC.

        251.   Neither RP-LP nor Kinney knowingly made any misrepresentations to

Jowers in negotiation of the Jowers Agreement.

        252.   Neither RP-GP nor Kinney knowingly made any misrepresentations to

Jowers in negotiation of the Forgivable Loan Agreement or associated Promissory

Note.

        253.   Neither CU-LLC nor Kinney knowingly made any misrepresentations

to Jowers in negotiation of the Revolving Loan Agreement or associated Promissory

Note and Security Agreement.

        254.   Jowers did not suffer any injury in justifiable reliance on any

representation from his employer under the terms of the Jowers Agreement.




MWK’S FINAL PROPOSED FF&CL                                               PAGE 54
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 59 of 115




      255.   Jowers did not suffer any injury in justifiable reliance on any

representation from his employer under the terms of the Forgivable Loan

Agreement or associate Promissory Note.

      256.   Jowers did not suffer any injury in justifiable reliance on any

representation from his employer under the terms of the Revolving Loan Agreement

or associate Promissory Note and Security Agreement.

             vii.    Overbroad, Overlong, and Not Reasonably 130Necessary

      257.   Please see the findings of fact related to the Jowers Agreement located

on pages 27 to 29, at ¶¶130 to 132.

             viii.   Illegality

      258.   There were no illegal acts by MWK that induced Jowers into accepting

or continuing employment with MWK. There were no terms within any of the

relevant agreements which were illegal.

             ix.     Lack of Consideration

      Jowers received consideration for his agreement to enter into the Jowers

Agreement in the form of continued employment and remuneration for that

employment. Additionally, Jowers received financing support for the marketing to

Asia-related candidates and clients that he hoped to obtain. (Trans. I, at 63-64).

             x.      Rescission

      259.   No agreement between Jowers and MWK was procured by fraud,

duress, or illegal conduct by MWK or any representative of MWK.

             xi.     Unclean Hands

      At all times relevant, MWK acted in accordance with its rights under the


MWK’S FINAL PROPOSED FF&CL                                                    PAGE 55
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 60 of 115




Jowers Agreement, the 2012 Revolving Loan, and the 2012 Forgivable Loan.

              xii.    Unconscionability

      260.    Inclusion of the restrictive covenants included in the Jowers

Agreement was solicited by Jowers himself. (P-17).

      261.    Jowers freely assented to the language and extent of the restrictive

covenants included in the agreement. (See, above, at 5).

      262.    Jowers was not surprised by the inclusion of the restrictive covenants

included in the Jowers Agreement. (P-17).

      263.    Jowers was not oppressed by the restrictive covenants included in the

Jowers Agreement, instead he obtained benefits that he wanted, such as advertising

to support the recruiting practice he wanted to grow, as well as continued

employment.

              xiii.   Information Readily Ascertainable

      264.    As detailed above with regard to the trade secret misappropriation

candidates, the information that Jowers used to place those candidates was highly

secret information that was not readily ascertainable by others who did not have a

relationship with them. (See, above, at pages 16 to 26, ¶¶77 to 127).

              xiv.    Independent Development

      Jowers did not independently develop the information that he used to place

Steve Kang, James Chang, Rose Zhu, Longhao Wang, Pamela Usukumah or Meng

Ding. Instead, he used the resources of MWK to do so. (See, above, at pages 16 to 26,

¶¶77 to 127).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 56
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 61 of 115




              xv.    Payment

       Jowers conceded that he had not made payment on the 2012 Revolving Loan

or the 2012 Forgivable Loan following his departure from employment by KR-LLC.

       I.     Attorney Fees

       265.   The Court finds that Jowers has spent between $1.9 million and $2.3

million in attorney fees in this lawsuit as of the time of trial. (Trans. II, at 59-60).

       266.   The Court further finds that Jowers believes that this amount of fees is

reasonable for him to have spent in defending this matter. (Trans. II, at 59-60).

       J.     Litigation Misconduct

       267.   Jowers has spent “over two million in legal fees,” in defending this case

and prosecuting his own claims, and Jowers has vowed to spend up to $20 million to

fight the claims against him, even though the claims against him total significantly

less. (Trans. II, at 57-58). This is not reasonable.

       268.   The plethora of discovery orders issued in this case, which ruled

against Jowers on multiple discovery motions, clearly shows that Jowers’s efforts in

this case have not been aimed at its legal merits. (See, e.g., Ord. re Mot. to Comp.,

Dkt. 168; Ord. re Jowers Mot. for Prot. Ord., Dkt. 173; Ord. re Disc. Mot., Dkt. 236;

Ord. to Show Cause, Dkt. 237).

       269.   The brief Jowers submitted to Magistrate Judge Austin in response to

Judge Austin’s Order to Show Cause plainly stated Jowers’s lack respect for this

Court and the judicial process. (See, e.g., Dkt. 245, at 19 (“…that is how little

respect I have for your judgement [sic].”)).




MWK’S FINAL PROPOSED FF&CL                                                        PAGE 57
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 62 of 115




      270.   Jowers’s excuses for his conduct in this case are not credible. For

example, Jowers asserted at trial that his delay in producing documents during

discovery until after he was compelled to do so was because discovery had “barely

started” when he made his first document production, which occurred in late May

2020. (Trans. II, at 77-79; Dkt. 168). As is clear from a look at the docket, though,

discovery in the case was stayed only until resolution of the parties’ motions to

dismiss. (Order, Dkt. 82). The Court ruled on those motions July 29, 2019. (Order,

Dkt. 87). By the time Jowers made his first document production, the stay had been

lifted for ten months. As of trial, Jowers still had not produced an accounting on the

loans. (Trans. I, at 150-151). Neither had he produced a tabulation of his expense

damages or included anything about them in his proposed findings of fact and

conclusions of law. (MWK Objections, Dkt. 306, at 8-9).

      271.   Jowers pursued his RICO and fraud counterclaims in this case, as well

as the claims against Michelle Kinney, primarily in order to harass MWK for

bringing its claims against Jowers. (Trans. II, at 62-66). Jowers pursued the defense

of the other claims against him without a rational legal strategy and, in some cases,

without any defense at all. (See, e.g., Trans. II, at 97-98 (Jowers re no defense to

claims under Forgivable Loan)).

      272.   Jowers has used this lawsuit as a vehicle to improperly harass MWK

with baseless and irrelevant accusations for pursuing its claims. For example,

Jowers accused Kinney of attempting to engage another MWK employee to “steal

[Jowers’s] car,” in a public filing in this case. (Dkt. 246, at 17). Jowers made this




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 58
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 63 of 115




claim despite knowing that MWK had a security interest in the car in question

securing a valid loan, the 2012 Revolving Loan. (Trans. II, at 70-71). Jowers knows

that executing on a valid security interest is not theft.

      273.   Jowers failed to produce email traffic from his evanjowers@yahoo.com

account, including those emails referenced in the findings of fact above. (See, above,

pages 18 and 27). This failure caused the plaintiff to need to seek the relevant

messages from third party witnesses, harming his business and raising the cost of

this litigation unnecessarily. (Trans. I, at 45). As noted above, Jowers’s first

production was ten months after discovery opened.

      274.   Jowers plainly stated in his brief to Judge Austin that he expected his

willingness to incur enormous – and unwarranted – legal fees in this case would

prevent MWK from pursuing him. (Dkt. 245, at 22-23). Jowers’s attempt at trial to

explain that statement as anything other than an admission the vexatious nature of

his handling of this litigation was not credible. (Trans. II, at 91-95). Jowers is

correct that, in most cases, an opponent in litigation would not invest the time

necessary to counter the relentless strategy of attack that Jowers and his attorneys

have employed in this case.

      275.   These claims and actions by Jowers were frivolous and have inflicted

willful and malicious injury on MWK in an amount that the Court will determine

following issuance of these findings of fact and conclusions of law. Raspanti v. Keaty

(In re Keaty), 397 F.3d 264 (5th Cir. 2005).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 59
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 64 of 115




       276.   MWK has pursued its claims against Jowers in good faith. None of

 MWK’s claims against Jowers have been dismissed by the Court or adjudicated

 summarily.

II.    CONCLUSIONS OF LAW

       A.     Jurisdiction and Venue

       277.   This action arises under the Federal Defense of Trade Secrets Act, 18

 U.S.C. § 1836, et seq. Therefore, the Court has subject matter jurisdiction over this

 suit based on 28 U.S. Code § 1331.

       278.   There is complete diversity of citizenship among all parties. Therefore,

 the Court has subject-matter jurisdiction over this suit based on 28 U.S.C. § 1332.

 (Dkt. 87, at 10, n. 7; 28 U.S.C. § 1332).

       279.   This Court has personal jurisdiction over Jowers for all claims related

 to the 2012 Forgivable Loan and the 2012 Revolving Loan by virtue of his

 contractual consent in those documents. See Burger King Corp. v. Rudzewicz, 471

 U.S. 462, 473 n.14 (1985).

       280.   This Court has personal jurisdiction over Jowers for all claims related

 to his employment agreement by virtue of the forum selection clause in the Jowers

 Agreement. (Dkt. 87, at 11); see Ginter ex rel. Ballard v. Belcher, Prendergast &

 Laporte, 536 F.3d 439, 444–45 (5th Cir. 2008).

       281.   This Court may exercise supplemental jurisdiction over all MWK’s

 contract claims under the Jowers Agreement and its tort claims alleging theft of

 trade secrets because all such claims arise out of the “same operative facts” as the

 other claims before the Court, namely, Jowers’s submitting certain candidates


 MWK’S FINAL PROPOSED FF&CL                                                  PAGE 60
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 65 of 115




through a competitor in violation of his duties of non-disclosure and non-

competition. D–Two Commc’ns v. Comtel, MO-09-CV-031, 2009 WL 10670036, at *2

(W.D. Tex. Nov. 30, 2009); (Dkt. 87, at 13).

      282.   Venue is proper as Jowers expressly agreed in the contract of

employment at issue in this case “to the exclusive personal jurisdiction and venue of

any court in Travis County, Texas and waive[d] any defense” to personal

jurisdiction and venue of any court in Travis County, Texas. (P-2, at ¶13.1).

      B.     Assignment of Agreements

      283.   The various assignments of the Jowers Agreement by RP-LP, RP-GP,

and KR-LLC validly assigned the Jowers Agreement to MWK LLC. The Jowers

Agreement expressly stated that the parties agreed that the restrictive covenants

contained in it were to “be enforceable by the Company’s assignees and/or

successors.” (P-2, at ¶15.1). Pursuant to longstanding Florida law, assignments of

personal service agreements such as the Jowers Agreement are valid. See, e.g., Pino

v. Spanish Broad. Sys. of Fla., Inc., 564 So.2d 186, 189 (Fla.Dist.Ct.App. 1990)

(holding that the language “transferable or assignable” plus ratification by

continued employment was sufficient for valid assignment). Moreover, Florida

Statutes Section 542.335, enacted in 1996, provides in pertinent part:

      (1) . . . In any action concerning enforcement of a restrictive covenant:
      ...
      (f) The court shall not refuse enforcement of a restrictive covenant on
      the ground that the person seeking enforcement . . . is an assignee or
      successor to a party to such contract, provided:
      ...
      2. In the case of an assignee or successor, the restrictive covenant
      expressly authorized enforcement by a party's assignee or successor.


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 61
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 66 of 115




Fla. Stat. § 542.335. Because the Jowers Agreement was expressly assignable and

the relevant Florida law so provides, the assignments of the Jowers Agreement do

not diminish the rights of the successors to Jowers’s original employer to enforce the

restrictive covenants.

      284.      By virtue of MWK-LLC’s conversion into MWK, a corporation, and

MWK’s subsequent merger with Counsel Holdings, Counsel Holdings is the

successor in interest to the Jowers Agreement with the right to enforce the

restrictive covenants contained in that agreement. Corporate Express Office Prod. v.

Phillips, 847 So. 2d 406, 414 (Fla. 2003) (holding that “the surviving corporation in

a merger assumes the right to enforce a noncompete agreement entered into with

an employee of the merged corporation by operation of law, and no assignment is

necessary.”).

      285.      Likewise, the January 31, 2017, assignment by CU-LLC to MWK-LLC

was a valid assignment of CU-LLC’s rights and obligations under the 2012

Revolving Loan Agreement, the 2012 Revolving Loan Promissory Note, and the

2012 Revolving Loan Security Agreement to MWK-LLC. The 2012 Revolving Loan

Agreement expressly authorized assignment by CU-LLC. (P-9, at ¶7.7). Likewise,

the 2012 Revolving Loan Security Agreement expressly authorized assignment by

CU-LLC. (P-10, at ¶7.8). Assignments of this nature are valid under Texas law,

which governs these agreements. Reinagel v. Deutsche Bank Nat'l Trust Co., 735

F.3d 220 (5th Cir. 2013).




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 62
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 67 of 115




      C.     Choice of Law

             i.    Florida Law Applies

      286.   The Court has previously found that the Jowers Agreement is

governed by Florida law. (Order re Motion to Dismiss, Dkt. 87, at n.7, citing Jowers

Emp’t Agreement, P-2, ¶ 12.1). Texas law allows parties to select the law that

governs the parties’ rights and duties under an agreement. See Tex. Bus. & Comm.

Code § 1.301(a); DeSantis v. Wackenhut Corp., 793 S.W.2d 670, 677 (Tex. 1990)

(“When parties to a contract reside or expect to perform their respective obligations

in multiple jurisdictions, they may be uncertain as to what jurisdiction’s law will

govern construction and enforcement of the contract. To avoid this uncertainty, they

may express in their agreement their own choice that the law of a specified

jurisdiction will apply to their agreement.”). Here, MWK—a Texas entity—and

Jowers—a Florida citizen—agreed that any “controversies, claims, disputes or

matters in questions arising out of or relating to this Agreement shall be construed,

governed, and enforced in accordance with the laws of Florida.” (Dkt. 87, at n.7).

             ii.   Estoppel - Hong Kong Law Does Not Apply

      287.   Jowers specifically argued throughout this litigation that the Jowers

Employment Agreement is governed by Florida law. For example, in seeking early

dismissal of the case, Jowers argued, “Additionally, the Employment Agreement

provides that it is governed by Florida law, which further demonstrates that

Florida, not Texas, is the intended forum for all litigation.” (Jowers’s Motion to

Dismiss, Dkt. 84, at 14). In the same motion, Jowers separately argued that the

“Jowers Employment Agreement is governed by Florida law,” pointing to the


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 63
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 68 of 115




Florida statutory scheme for enforcement of restrictive covenants in employment

agreements. Id., at 29. The Court adopted the position Jowers argued for, analyzing

the restrictive covenants contained in the Jowers Agreement under Florida law.

(Order re Motion to Dismiss, Dkt. 87, at n.12).

      288.   Jowers asserted at trial, without reference to any actual Hong Kong

legal authority, that the Court should apply Hong Kong law to invalidate the

Jowers Agreement with regard to enforceability of the restrictive covenants in the

Jowers Agreement. (Trans. II, at 196-199; Trans. III, at 31). To the extent that

Jowers is now arguing that Hong Kong law should be applied by the Court to

interpret the Jowers Agreement, such an assertion is clearly inconsistent with his

prior assertion regarding applicability of Florida law to the Jowers Agreement. To

the extent Jowers now seeks to assert he was employed by a different entity, Kinney

Recruiting Limited, that assertion is inconsistent with Jowers’s own pretrial

submissions, which stated in the proposed findings of fact and conclusions of law

that “On December 16, 2016, Jowers resigned from Kinney Recruiting LLC.”

(Dkt. 305-4, at 3).

      289.   The Court will exercise its discretion to estop Jowers from arguing that

he was working for Kinney Recruiting Limited (the Hong Kong entity) or that Hong

Kong (instead of Florida) law applies to the Jowers Agreement. Judicial estoppel is

“a common law doctrine by which a party who has assumed one position in his

pleadings may be estopped from assuming an inconsistent position.” Brandon v.

Interfirst Corporation, 858 F.2d 266, 268 (5th Cir. 1988). The purpose of the




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 64
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 69 of 115




doctrine is “to protect the integrity of the judicial process” by “prevent[ing] parties

from `playing fast and loose' with (the courts) to suit the exigencies of self-interest.”

Id. Judicial estoppel is generally applied when “intentional self-contradiction is

being used as a means of obtaining unfair advantage.” In re Coastal Plains, Inc.,

179 F.3d 197, 206 (5th Cir. 1999), cert. denied, 528 U.S. 1117 (2000). The Fifth

Circuit has stated that judicial estoppel applies: (1) where the position of the party

to be estopped is clearly inconsistent with its previous one; and (2) that party must

have convinced the court to accept that previous position. Ahrens v. Perot Systems

Corp., 205 F.3d 831, 833 (5th Cir.), cert. denied, 531 U.S. 819 (2000). Courts,

however, may invoke the equitable doctrine of judicial estoppel at their discretion.

New Hampshire v. Maine, 532 U.S. 742, 750 (2001). Because Jowers argued for

applicability of Florida law, a position that the Court then adopted, and now argues

that a different law should apply to the contract, the Court will exercise its

discretion to prevent Jowers from asserting that Hong Kong law applies to

invalidate the enforcement of restrictive covenants contained in the Jowers

Agreement.

      D.     MWK’s Claims

             i.     Misappropriation of Trade Secrets

      290.   Under both the Defend Trade Secrets Act and the Texas Uniform

Trade Secrets Act, a trade secret is defined as information the owner has taken

reasonable measures to keep secret and which derives independent economic value

from not being generally known or readily ascertainable through proper means.

TEX. CIV. PRAC. & REM. CODE § 134A.002(6); 18 U.S.C. § 1839(3).


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 65
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 70 of 115




Misappropriation under both statutes includes (1) “disclosure or use of a trade

secret of another without express or implied consent by a person who . . . used

improper means to acquire knowledge of the trade secret” and (2) “acquisition of a

trade secret of another by a person who knows or has reason to know that the trade

secret was acquired by improper means.” TEX. CIV. PRAC. & REM. CODE §

134A.002(3); 18 U.S.C. § 1839(5). “Improper means” include the “breach or

inducement of a breach of a duty to maintain secrecy.” TEX. CIV. PRAC. & REM.

CODE § 134A.002(2); 18 U.S.C. § 1839(6)(A).

      291.   “A trade secret is any formula, pattern, device or compilation of

information which is used in one’s business and presents an opportunity to obtain

an advantage over competitors who do not know or use it.” CQ, Inc. v. TXU Min.

Co., 565 F.3d 268, 274 (5th Cir. 2009) (quoting Comput. Assocs. Int’l, Inc. v. Altai,

Inc., 918 S.W.2d 453, 455 (Tex.1996)). “It differs from other secret information in a

business in that it is not simply information as to single or ephemeral events in the

conduct of the business. . . . A trade secret is a process or device for continuous use

in the operation of the business.” Id. (quoting Restatement of Torts § 757, cmt. b.).

To determine whether a trade secret exists, courts examine several factors: (1) the

extent to which the information is known outside of his business; (2) the extent to

which it is known by employees and others involved in his business; (3) the extent of

the measures taken by him to guard the secrecy of the information; (4) the value of

the information to him and to his competitors; (5) the amount of effort or money

expended by him in developing the information; (6) the ease or difficulty with which




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 66
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 71 of 115




the information could be properly acquired or duplicated by others. In re Bass, 113

S.W.3d 735, 739 (Tex. 2003). “Customer lists, pricing information, client

information, customer preferences, buyer contacts, and marketing strategies have

all been recognized as trade secrets.” Rimkus Consulting Grp., Inc. v. Cammarata,

255 F.R.D. 417, 441 (S.D. Tex. 2008).

      292.   “Texas courts consistently consider three factors when determining

whether a customer list is a trade secret: (1) what steps, if any, an employer has

taken to maintain the confidentiality of a customer list; (2) whether a departing

employee acknowledges that the customer list is confidential; and (3) whether the

content of the list is readily ascertainable.” Guy Carpenter & Co. v. Provenzale, 334

F.3d 459, 467 (5th Cir. 2003). To show misappropriation, a plaintiff must show that

the defendant acquired its trade secrets through improper means, such as through

“breach or inducement of a breach of a duty to maintain secrecy.” TEX. CIV. PRAC.

& REM. CODE § 134A.002(2); 18 U.S.C. § 1839(6)(A). A defendant can be liable for

misappropriation of trade secrets if, at the time of the unauthorized use or

disclosure of the information, the defendant knew he obtained the information

under circumstances giving rise to a duty to maintain its secrecy. TEX. CIV. PRAC.

& REM. CODE § 134A.002(3)(B)(ii)(b); see also HIS Co. v. Stover, 202 F. Supp. 3d

685, 696 (S.D. Tex. 2016).

      293.   The information Jowers disclosed to third parties while working for

KR-LLC regarding Steve Kang, James Chang, Rose Zhu, Longhao Wang, Pamela

Usukumah, and Meng Ding falls under the categories of information that Texas




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 67
          Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 72 of 115




courts have constituted trade secrets of MWK. MWK required its employees to sign

non-disclosure agreements. (Trans. I, at 186). Jowers acknowledged by his own

signature on the Jowers Agreement and by his efforts to keep his activities secret

that the list he possessed of “live candidates” was confidential. The information was

also not readily ascertainable. Therefore, the candidate list containing these six

names and the associated information about them which led to their constituted

trade secrets of MWK.

      294.     Jowers’s disclosure of this information constituted trade secret

misappropriation because, at the time of the disclosure, Jowers knew or had reason

to know that the knowledge of the trade secrets was acquired under circumstances

giving rise to maintain the secrecy of the trade secret or limit the use of the trade

secret.

      295.     “Damages in misappropriation cases can take several forms: the value

of plaintiff’s lost profits; the defendant’s actual profits from the use of the secret[;]

the value that a reasonably prudent investor would have paid for the trade secret;

the development costs the defendant avoided incurring through misappropriation;

and a ‘reasonable royalty.’” Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867, 879

(5th Cir. 2013); TEX. CIV. PRAC. & REM. CODE § 134A.004(a) (“Damages can

include both the actual loss caused by misappropriation and the unjust enrichment

caused by misappropriation that is not considered in computing actual loss.”).




MWK’S FINAL PROPOSED FF&CL                                                      PAGE 68
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 73 of 115




       296.   “Willful and malicious” misappropriation is defined as “intentional

misappropriation resulting from the conscious disregard of the rights of the owner

of the trade secret.” TX. CIV. PRAC. & REM. § 134A.002(7).

       297.   “Willful means intentional and malicious adds the absence of just

cause or excuse.” Matter of Caton, 157 F.3d 1026, 1030 (5th Cir. 1998).

       298.   Jowers’s misappropriation of trade secrets was willful and malicious.

       299.   The        evidence   regarding    Jowers’s     willful    and     malicious

misappropriation of trade secrets is clear and convincing. Horizon Health Corp. v.

Acadia Healthcare Co., 520 S.W.3d 848 (Tex. 2017).

       300.   Jowers’s misappropriation of the trade secrets of his employer caused

damages to MWK in the amount of the placement fees generated from these

candidates:    HKD$1,342,492        (Steve   Kang);   HKD$798,034       (James    Chang);

HKD$390,000       (Longhao      Wang);   HKD$458,893        (Pamela     Usukumah);    and

HKD$878,765 (Meng Ding) because Jowers was unjustly enriched by these

amounts; totaling 3,868,184 Hong Kong dollars, or $559,444.99 United States

dollars.

       301.   Jowers also caused loss of goodwill in the relationships with the clients

of MWK where these candidates were placed, as well as other damages that are

difficult to quantify.

       302.   Because the damages for placement of the six candidates are

duplicative of damages the Court is awarding for breach of contract, the Court will

not award actual damages for Jowers’s misappropriation of trade secrets.




MWK’S FINAL PROPOSED FF&CL                                                        PAGE 69
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 74 of 115




        303.   For Jowers’s willful misappropriation of trade secrets, the Court

awards exemplary damages in an amount of $559,444.99 United States dollars, the

amount of damages found. 18 U.S.C. § 1836(b)(3)(C); Tex. Civ. Prac. & Rem. Code §

134A.004(b).

        304.   For Jowers’s willful and malicious misappropriation of trade secrets,

the Court will award reasonable attorney fees to MWK in an amount to be

determined upon presentation of attorney fee evidence. 18 U.S.C. § 1836(b)(3)(D);

Tex. Civ. Prac. & Rem. Code § 134A.005(3).

               ii.   Revolving Loan

        305.   The 2012 Revolving Loan Agreement, the 2012 Revolving Loan

Promissory Note, and the 2012 Revolving Loan Security Agreement are governed by

Texas law. (Dkt. 87, at 28, n. 15).

        306.   Under Texas law, a plaintiff suing for recovery on a promissory note

does not have to prove all essential elements of a breach of contract claim, but

rather need only establish: “(1) there is a note, (2) the plaintiff is legal owner and

holder, (3) the defendant is the maker, and (4) a certain balance is ‘due and owing.’”

McLernon v. Dynegy, Inc., 347 S.W.3d 315, 324 (Tex. App. 2011) (citing Blankenship

v. Robins, 899 S.W.2d 236, 238 (Tex. App.—Houston [14th Dist.] 1994, no writ).

        307.   The 2012 Revolving Loan Promissory Note is an existing promissory

note.

        308.   Counsel Holdings is the legal owner and holder of the 2012 Revolving

Loan Promissory Note.

        309.   Jowers is the maker of the 2012 Revolving Loan Promissory Note.


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 70
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 75 of 115




        310.   $8,001.84 United States dollars plus simple interest of 17% per year

accruing since January 31, 2017, or $3.78 per day, is due and owing under the 2012

Revolving Loan Agreement and the 2012 Revolving Loan Promissory Note.

        311.   In addition, the Court will award reasonable attorney fees to MWK in

an amount to be determined upon presentation of attorney fee evidence. Attorney

fees are recoverable by MWK under the Loan Agreement’s indemnity provisions.

(P-9, at ¶7.7). They are also recoverable under the costs and expenses provision of

the associated Security Agreement. (P-10, ¶7.5). Attorney's fees are recoverable by

MWK under section 38.001(8) of the Texas Civil Practice and Remedies Code. That

section permits a trial court to award attorney's fees “if the claim is for . . . (8) an

oral or written contract.” Tex. Civ. Prac. Rem. Code Ann. § 38.001(8).

               iii.   Forgivable Loan

        312.   The 2012 Forgivable Loan Promissory Note is governed by Texas law.

(Dkt. 87, at 28, n. 15).

        313.   Under Texas law, a plaintiff suing for recovery on a promissory note

does not have to prove all essential elements of a breach of contract claim, but

rather need only establish: “(1) there is a note, (2) the plaintiff is legal owner and

holder, (3) the defendant is the maker, and (4) a certain balance is ‘due and owing.’”

McLernon v. Dynegy, Inc., 347 S.W.3d 315, 324 (Tex. App. 2011) (citing Blankenship

v. Robins, 899 S.W.2d 236, 238 (Tex. App.—Houston [14th Dist.] 1994, no writ).

        314.   The 2012 Forgivable Loan Promissory Note is an existing promissory

note.




MWK’S FINAL PROPOSED FF&CL                                                     PAGE 71
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 76 of 115




      315.   Counsel Holdings is the legal owner and holder of the 2012 Forgivable

Loan Promissory Note.

      316.   Jowers is the maker of the 2012 Forgivable Loan Promissory Note.

      317.   $25,982.18 USD plus simple interest of 1.17% per annum ($0.78 per

day) accruing since December 6, 2021, is due and owing on the 2012 Forgivable

Loan Promissory Note.

      318.   The Court finds that Counsel Holdings is entitled to damages totaling

$25,982.18 USD plus simple interest of 1.17% per annum accruing since December

6, 2021.

      319.   The Court will also award reasonable attorney fees to MWK in an

amount to be determined upon presentation of attorney fee evidence. Attorney's fees

are recoverable by MWK under section 38.001(8) of the Texas Civil Practice and

Remedies Code. That section permits a trial court to award attorney's fees “if the

claim is for . . . (8) an oral or written contract.” Tex. Civ. Prac. Rem. Code Ann. §

38.001(8).

             iv.   The Jowers Agreement

                   a)     Valid Contract under Florida Law

      320.   Under Florida law, the elements of breach of contract are: (1) a valid

contract; (2) a material breach; and (3) damages. Beck ex rel. Estate of Southeast

Banking Corp. v. Lazard Freres & Co., 175 F.3d 913 (11th Cir. 1999).

      321.   “A contract is made under Florida law when the three elements of

contract formation are present: offer, acceptance, and consideration.” Pezold Air

Charters v. Phoenix Corp., 192 F.R.D. 721, 725 (M.D. Fla. 2000).


MWK’S FINAL PROPOSED FF&CL                                                  PAGE 72
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 77 of 115




      322.   It is undisputed that the contract formation elements of offer and

acceptance were present.

                   b)      Valid Modifications

      323.   Under Florida law, because the Jowers Agreement was terminable by

both MWK and Jowers at will, and Jowers continued his employment for MWK

after each modification of the contract, there was valid consideration for each of the

modifications. Coastal Unilube, Inc. v. Smith, 598 So. 2d 200, 201 (Fla. Dist. Ct.

App. 1992) (“Where employment was a continuing contract terminable at the will of

either employer or employee, the Florida Courts have held continued employment

constitutes adequate consideration to support a contract.”); see also Open Magnetic

Imaging, Inc. v. Nieves-Garcia, 826 So. 2d 415, 417–18 (Fla. Dist. Ct. App. 2002).

      324.   Jowers argues that Section 14.1 of the Jowers Agreement, which

requires that modifications to the Agreement be “in a writing signed by the party to

be charged,” limited the ability of MWK to modify the Agreement even

prospectively, despite Section 6.1’s grant of authority to modify Exhibit A to the

Agreement “from time to time as the Company, in its sole discretion, deems

appropriate, provided that no such modification may be applied retroactively.” (P-2,

at ¶6.1). This argument is unavailing, not least because, in Florida, it is “well

established that a written contract may be modified by a subsequent oral agreement

or subsequent conduct of the parties, even though the written contract purports to

prohibit such modification.” Siever v. Bwgaskets, Inc., 669 F. Supp. 2d 1286, 1298

(M.D. Fla. 2009) (citing authorities). The parties agreed to modify the Jowers




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 73
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 78 of 115




Agreement in 2011 to change Jowers’s commission scale to the level it remained

throughout the remainder of his employment. See, above, at 13, ¶¶68-69. Even if

the Court had not so found, Jowers’s continued work for more than five years under

the 45%/50% commission scale constituted a waiver of the writing requirement of

Section 14.1. See, Linear Corp. v. Standard Hardware Co., 423 So. 2d 966 (Fla. Dist.

Ct. App. 1983).

      325.   Because offer, acceptance, and consideration existed, the Jowers

Agreement is a valid and enforceable contract.

      326.   The Jowers Agreement contains a merger clause. (See, above, at 6,

¶30). Although the existence of a merger clause does not conclusively establish that

the integration of the agreement is total, it is a highly persuasive statement that

the parties intended the agreement to be totally integrated and generally works to

prevent a party from introducing parol evidence to vary or contradict the written

terms. See, Environmental Services v. Carter, 9 So. 3d 1258, 1265 (Fla. Dist. Ct.

App. 2009). Here, the restrictive covenants were clear and complete. The merger

clause precludes the consideration of other documents to vary the terms of the

agreement. Id.

                    c)    Valid Restrictive Covenants

      327.   Under Florida law, a restrictive covenant in the employment setting is

valid if the employer can prove “(1) the existence of one or more legitimate business

interests justifying the restrictive covenant; and (2) that the contractually specified

restraint is reasonably necessary to protect the established interests of the




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 74
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 79 of 115




employer.” Veterinary Orthopedic Implants, Inc. v. Haas, No. 3:20-cv-868-J-34MCR,

2020 WL 5369087 at *17 (M.D. Fla. Sep. 8, 2020) (citing AutoNation, Inc. v.

O'Brien, 347 F. Supp. 2d 1299, 1304 (S.D. Fla. 2004); Fla. Stat. § 542.335(1)(b), (c).

        328.     Under Florida law, a “legitimate business interest” includes, but is not

limited to “[t]rade secrets, as defined . . . [by state statute]; [v]aluable confidential

business or professional information that otherwise does not qualify as trade

secrets; [s]ubstantial relationships with specific prospective or existing customers,

patients, or clients; [c]ustomer, patient, or client goodwill associated with: [a]n

ongoing business or professional practice, by way of trade name, trademark, service

mark, or ‘trade dress’; [a] specific geographic location; or [a] specific marketing or

trade    area;     [and]   [e]xtraordinary   or   specialized   training.”   Fla.   Stat.   §

542.335(1)(b)(1)-(5). See also, White v. Mederi Caretenders Visiting Servs. of Se. Fla.,

LLC, 226 So. 3d 774, 782-83 (Fla. 2017).

        329.     Counsel Holdings “need only establish the existence of one legitimate

business interest to justify the enforcement of its restrictive covenant.” Veterinary

Orthopedic Implants, Inc. v. Haas, No. 3:20-cv-868-J-34MCR, 2020 WL 5369087, at

*4 (M.D. Fla. Sep. 8, 2020). Yet, COUNSEL HOLDINGS has established several

legitimate business interests. First, Counsel Holdings had a legitimate business

interest in protecting its substantial client and candidate relationships Jowers

described in his testimony as being so valuable to him. (See, above, at page 27).

Second, Counsel Holdings has established that it had a legitimate business interest

in protecting certain confidential business information to which Jowers had access,




MWK’S FINAL PROPOSED FF&CL                                                          PAGE 75
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 80 of 115




including its trade secrets. (See, above, at page 16). Third, Counsel Holdings had a

legitimate business interest in protecting the client and candidate goodwill

associated with the MWK brand, particularly in Asia, where Jowers had been

heavily promoted by MWK. (See, above, at page 27).

                   d)    Worldwide Reach was Appropriately Tailored

      330.   The worldwide reach of the restrictive covenants at issue in the Jowers

Agreement is reasonable. Where the legitimate business interest at issue is

confidential and proprietary information, courts have found restrictive covenants

which extend beyond the specific region where the employee worked on behalf of his

former employer may be reasonably necessary to protect the former employer's

interests. See Proudfoot Consulting Co., 576 F.3d at 1238-39 (collecting cases); see

also Autonation, Inc., 347 F. Supp. 2d at 1307-08 (finding a prohibition on working

in “any geographic space in which [former employer] operates” reasonably necessary

to protect confidential business information relevant to the markets in which it

operates).

      331.   Counsel Holdings has made a prima facie showing that the one-year

period during which Jowers was restricted was reasonable.

      332.   “In determining the reasonableness in time of a postterm restrictive

covenant predicated upon the protection of trade secrets, a court shall presume

reasonable in time any restraint of 5 years or less and shall presume unreasonable

in time any restraint of more than 10 years. All such presumptions shall be

rebuttable presumptions.” Fla. Stat. § 542.335(1)(e). Because the restrictive




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 76
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 81 of 115




covenant in the Jowers Agreement is predicated upon the protection of trade

secrets, the Court presumes that its restraint of five years is reasonable. The period

of the liquidated damages sustained in this case even after tolling due to Jowers’s

breaches spans from Jowers’s date of resignation until April 2020, a period of less

than four years. Having made no effort to rebut the presumption that the period of

the restrictive covenant in the Jowers Agreement is reasonable, Jowers has not met

his burden of demonstrating that the restraint is “overbroad, overlong, or otherwise

not reasonably necessary.” See Fla. Stat. § 542.335(1)(c).

                    e)     Tolling Clause is Enforceable

      333.   The Jowers Agreement contains a tolling clause which states, “The

one-year time periods referred to in Section 8 shall be extended to include any

period of time during which the Employee engages in activities constituting a.

violation of that Section.” (P-2, at ¶9.4). After trial on the merits, such clauses are

routinely enforced in courts applying Florida law. See, e.g., Proudfoot Consulting v.

Gordon, 576 F.3d 1223, 1232 (11th Cir. 2009) (affirming the district court’s holding

that a “breach could be used to toll the six-month restrictive period even if that

breach was not intentional.”). Another recent Eleventh Circuit case applying

Florida law considered the tolling clause unremarkable, holding, “To be sure, the

employment agreements toll the duration of the twelve-month-long non-compete

and employee non-solicitation covenants for as long as ‘the [e]mployee is found to

have been in violation of such restriction[s].’” Vital Pharm. v. Alfieri, No. 20-14217,

at *11 (11th Cir. Jan. 20, 2022).




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 77
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 82 of 115




      334.    Based on the evidence in the record, the last placement made bv

Jowers in violation of the restrictive covenants in this case was the placement of

Jason Li, who Jowers and Jowers Vargas (with Jowers’s assistance) placed

Gunderson Dettmer on or about April 13, 2020. (See, above, at page 45, ¶201).

Although Jowers testified at trial that he had made 79 placements in 2021 alone,

the identity of the placed candidates and the firms where they were placed is

unknown. Therefore, the restrictive covenants contained in the Jowers Agreement

expired effective April 13, 2021.

                    f)     Breach by Jowers and Damages

      335.    Jowers materially breached the Jowers Agreement by (1) violating

Section 3.2; (2) violating Section 4.4; and (3) violating Section 8.1.

      336.    As the valid assignee, Counsel Holdings has suffered damages as a

result of Jowers’s breaches in the form of lost placement fees and lost profits as a

result of the loss of goodwill from clients and candidates caused by Jowers’s

breaches, as well as damage to its reputation and loss of goodwill from clients and

candidates.

                    g)     Damages

      337.    The Court has previously held that, due to Jowers’s failure to plead

unenforceability of the liquidated damages clause until summary judgment, he

waived this defense. (Dkt. 285, at 19-21). However, even if the Court had not so

held, the liquidated damages provision contained in the Jowers Agreement would be

valid and enforceable as reasonable in its terms and as agreed to by both parties in




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 78
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 83 of 115




light of the difficulty of quantifying the damages sustained in the area of goodwill

and client relationships.

       338.   For his breaches of contract, Jowers is liable for liquidated damages in

the full amount of the fees paid to Jowers Vargas for services rendered to clients

and candidates in violation of Section 8.1 of the Jowers Agreement. Counsel

Holdings’s total demonstrated liquidated damages under the Jowers Agreement in

United States Dollars is $4,034,337.97.

       339.   The Court will also award reasonable attorney fees to Counsel

Holdings in an amount to be determined upon presentation of attorney fee evidence.

Attorney's fees are recoverable by Counsel Holdings under the Jowers Agreement.

(P-2, at ¶¶9.1, 10.1).

                     h)     Exchange Rates

       340.   The Court will take judicial notice of the exchange rate between the

Hong Kong Dollar, the Singapore Dollar, and the United States dollar published by

the United States Federal Reserve Bank. (See, Motion for Judicial Notice of

Exchange Rates, Dkt. 337).

       E.     Jowers’s Pleaded Defenses

              i.     Failure to State a Claim

       341.   The Court finds that Counsel Holdings has properly pled and proven

its claims for each of its causes of action. (Ord. on Mot. for J. on Pleadings, Dkt.

229). Accordingly, Jowers’s first defense fails.




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 79
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 84 of 115




                ii.   Duress

         342.   Under Florida law, in order to prove duress, “it must be shown (a) that

the act sought to be set aside was effected involuntarily and thus not as an exercise

of free choice or will and (b) that this condition of mind was caused by some

improper and coercive conduct of the opposite side.” City of Miami v. Kory, 394

So.2d 494 (Fla. 3d DCA 1981). “Threatened action cannot constitute duress, when

there are adequate legal remedies available with which to challenge it.” Id., citing

Hartsville Oil Mill v. United States, 271 U.S. 43 (1926).

         343.   Likewise, under Texas law, “A common element of duress in all its

forms (whether called duress, implied duress, business compulsion, economic duress

or duress of property) is improper or unlawful conduct or threat of improper or

unlawful conduct that is intended to and does interfere with another person's

exercise of free will and judgment.” Dallas County Community College v. Bolton, 185

S.W.3d 868, 878-79 (Tex. 2005). “To meet his burden on his affirmative defense,

Jowers had to establish that KR-LLC or CU-LLC threatened to do an act that it had

no legal right to do.” Lujan v. Navistar Fin. Corp., 433 S.W.3d 699, 707 (Tex. App.

2014).

         344.   The Court finds that Jowers has not presented sufficient evidence to

support a finding that any of his employing entities threatened to commit an action

that they otherwise had no legal right to commit. Accordingly, Jowers’s second

defense fails.




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 80
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 85 of 115




              iii.   Prior Material Breach

       345.   Jowers asserts that Counsel Holdings’s claims are barred due to its

prior material breaches of obligations of under each of the Jowers Agreement, the

Revolving Loan Agreement, and the Forgivable Loan Agreement.

                     a)    Truth in Lending Act

       346.   The Court has already ruled that Jowers’s claims that MWK violated

the Truth in Lending Act and that MWK failed to register as a lender were forfeited

by his failure to raise them timely. (Dkt. 285, at n. 5). Therefore, this issue is not

part of this case.

       347.   Nevertheless, MWK did not violate the Truth in Lending Act. The

Truth in Lending Act states, “Except as specified in sections 1635, 1640, and 1666e

of this title, this subchapter and the regulations issued thereunder do not affect the

validity or enforceability of any contract or obligation under State or Federal law.”

15 U.S.C. § 1610(d). Even if CU-LLC violated the Truth in Lending Act, such

violation would not constitute a breach of the 2012 Revolving Loan Agreement. 12

C.F.R. § 226, known as Regulation Z, was issued by the Board of Governors of the

Federal Reserve System to implement the federal Truth in Lending Act, which is

contained in title I of the Consumer Credit Protection Act, as amended (15 U.S.C.

1601 et seq.). Regulation Z applies to individuals or businesses that offer or extend

credit when four conditions are met: (1) the credit is offered to consumers; (2) the

offering or extension of credit is done regularly; (3) the credit is subject to a finance

charge or is payable by a written agreement in more than four installments; and (4)

the credit is primarily for personal family or household purposes. 12 C.F.R. §


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 81
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 86 of 115




226.1(c). “A person regularly extends consumer credit only if it extended credit

(other than credit subject to the requirements of § 226.32) more than 25 times (or

more than 5 times for transactions secured by a dwelling) in the preceding calendar

year.” 12 C.F.R. § 226.2(a)(17)(v).

      348.   The 2012 Revolving Line of Credit was an open-end credit plan within

the meaning of Regulation Z. 12 C.F.R. § 226.2(a)(20). Because the 2012 Revolving

Line of Credit was an open-end credit plan, “transactions means accounts, so that

outstanding accounts are counted instead of individual credit transactions.” In re

Stratton, 299 B.R. 616, 621 (Bankr. D. Or. 2003) (citing Official Staff Interpretation,

12 C.F.R. Pt. 226, Supp. I, Subpart A, Cmt. 2(a)(17)(i)(4)). Accordingly, the 2012

Revolving Line of Credit is not a “regular” offering that falls within the meaning

and requirements of Regulation Z. The Court finds that Jowers’s third defense fails.

                    b)     Breach of the Jowers Agreement

      349.   Jowers has not demonstrated that MWK committed a material prior

breach of the Jowers Agreement that would justify his failure to comply with the

restrictive covenants contained in it. As described above, Jowers acquiesced to each

modification of his compensation. In Acosta v. Dist. Bd. of Trustees of Miami-Dade

Comm. College, 905 So. 2d 226, at 228-229 (Fla. 3d DCA 2005) (“Where a party fails

to declare a breach of contract, and continues to perform under the contract after

learning of the breach, it may be deemed to have acquiesced in an alteration of the

terms of the contract, thereby barring its enforcement.”). By continuing to work

under the Jowers Agreement for ten years despite what he now describes as




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 82
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 87 of 115




dramatic hardships, Jowers has waived any right to rescind he might otherwise

have had.

             iv.    Waiver

      350.   Florida and Texas courts define “waiver” as the voluntary and

intentional relinquishment of a known right or conduct which implies the voluntary

and intentional relinquishment of a known right. Raymond James Financial v.

Saldukas, 896 So. 2d 707, 711 (Fla. 2005); Shields Ltd. v. Boo Nathaniel Bradberry

& 40/40 Enters., 526 S.W.3d 471, 474 (Tex. 2017).

      351.   With respect to the Jowers Agreement, KR-LLC never waived its right

to keep its proprietary information confidential, and therefore Counsel Holdings’s

claims against Jowers are not barred by defense of waiver. Other employees of

MWK were under restrictions regarding their ability to disclose proprietary

information. (Trans. I, at 185-186).

      352.   With respect to the 2012 Revolving Loan Agreement, CU-LLC never

waived its right to collect on any outstanding debts, and therefore Counsel

Holdings’s claims against Jowers are not barred by the defense of waiver. (Trans. II,

at 227).

      353.   With respect to the 2012 Forgivable Loan Agreement, KR-LLC never

waived its right to collect on outstanding amounts due, therefore Counsel Holdings’s

claims against Jowers are not barred by the defense of waiver. (Trans. II, at 227).

      354.   For the Jowers Agreement, waiver of the rights of Jowers’s employer to

enforce its rights is barred by a valid and enforceable non-waiver provision. (P-2, at

¶18.1).


MWK’S FINAL PROPOSED FF&CL                                                   PAGE 83
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 88 of 115




      355.   For the 2012 Revolving Loan Agreement and the 2012 Forgivable Loan

Agreement, waiver of the lenders’ rights to enforce their rights is barred by valid

and enforceable non-waiver provisions. (Trans. II, at 227; Rev. Loan Prom. Note,

P-8, at 4; Forg. Loan Prom. Note, P-5, at 6)

      356.   Accordingly, the Court finds that Jowers’s fourth defense fails.

             v.    Estoppel

      357.   The affirmative defense of estoppel consists of four elements: “(1) the

plaintiff must know the facts of the defendant’s infringing conduct; (2) the plaintiff

must intend that its conduct shall be acted on or must so act that the defendant has

a right to believe that it is so intended; (3) the defendant must be ignorant of the

true facts; and (4) the defendant must rely on the plaintiff's conduct to its injury.”

Carson v. Dynegy, Inc., 344 F.3d 446, 453 (5th Cir. 2003).

      358.   None of Counsel Holdings or its related entities’ actions were ever

intended to communicate to Jowers that his course of conduct would be overlooked,

ignored, approved, or affirmed in any manner.

      359.   Jowers was not ignorant of any material true facts pertinent to these

claims, nor was his knowledge of the situation so impaired as to support any

reasonable reliance on his part that Counsel Holdings or its related entities’ ever

intended to overlook, ignore, approve, or affirm his infringing conduct in any

manner.

      360.   For these reasons, the Court finds that Jowers’s fifth defense fails.




MWK’S FINAL PROPOSED FF&CL                                                      PAGE 84
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 89 of 115




             vi.    Fraud

      361.   The    affirmative   defense    of   fraud   requires   proof    of   “(1)   a

misrepresentation of a material facts; (2) knowledge by the person making the

statement that the representation is false; (3) intent by the person making the

statement that the representation would induce another to rely and act on it; and

(4) that the plaintiff suffered injury in justifiable reliance on the representation.”

Tomasini v. Mt. Sinai Med. Ctr. of Fla., Inc., 315 F. Supp. 2d 1252, 1259 (S.D. Fla.

2004) (quoting Susan Fixel, Inc. v. Rosenthal Rosenthal, Inc., 842 So.2d 204, 209

(Fla. 3d DCA 2003)).

      362.   Because there were no misrepresentations made to Jowers in the

formation of the relevant agreements, nor any material fact within the relevant

agreements that was misrepresented to Jowers, Jowers is unable to rely on the

affirmative defense of fraud to avoid liability on the claims in this case.

      363.   Further, Jowers did not suffer any injury in justifiable reliance on any

representation made in any of the agreements at issue in this case.

      364.   For these reasons, the Court finds that Jowers’s sixth defense fails.

             vii.   Overbroad, Overlong, and Not Reasonably Necessary

      365.   According to Florida law, “[a] party seeking to enforce a restrictive

covenant must plead and prove the existence of one or more legitimate business

interests justifying the restrictive covenant and that the restriction is reasonably

necessary to protect those legitimate business interests. Partylite Gifts, Inc. v.

MacMillan, 895 F. Supp. 2d 1213, 1224 (M.D. Fla. 2012) (citing Fla. Stat. §

542.335(1)(b) & (c)).


MWK’S FINAL PROPOSED FF&CL                                                         PAGE 85
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 90 of 115




      366.   “If the party seeking enforcement of the restrictive covenant

establishes a prima facie case, the party opposing enforcement has the burden of

establishing that the contractually specified restraint is overbroad, overlong, or

otherwise not reasonably necessary to protect the established legitimate business

interests.” Id. (citing Fla. Stat. § 542.335(1)(c); North Am. Prods. Corp. v. Moore,

196 F. Supp. 2d 1217, 1228 (M.D. Fla. 2002)).

      367.   Florida law expressly forbids courts from considering the hardship

imposed upon an employee in evaluating the reasonableness of a restrictive

covenant. Florida Statutes § 542.335(1)(g)(1) provides that, “[i]n determining the

enforceability of a restrictive covenant, a court ... [s]hall not consider any

individualized economic or other hardship that might be caused to the person

against whom enforcement is sought” (emphasis added). The statute also provides

that a court considering the enforceability of a restrictive covenant must construe

the covenant “in favor of providing reasonable protection to all legitimate business

interests established by the person seeking enforcement” and “shall not employ any

rule of contract construction that requires the court to construe a restrictive

covenant narrowly, against the restraint, or against the drafter of the contract”

(§542.335[1][h]; see, Environmental Servs., Inc. v. Carter, 9 So.3d 1258, 1262

(Fla.Dist.Ct.App. 2009). Thus, although the statute requires courts to consider

whether the restrictions are reasonably necessary to protect the legitimate business

interests of the party seeking enforcement (see, §542.335[1][c]; Environmental

Servs., Inc., 9 So.3d at 1262), the statute prohibits courts from considering the




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 86
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 91 of 115




hardship on the employee against whom enforcement is sought when conducting its

analysis.    See,   e.g.,   Atomic   Tattoos,   LLC   v.   Morgan,   45   So.3d   63,   66

(Fla.Dist.Ct.App.) (refusing to consider economic hardship on defendant).

      368.    “Generally, legitimate business interests include trade secrets,

valuable confidential business or professional information that otherwise does not

qualify as trade secrets, substantial relationships with specific prospective or

existing customers or clients, customer or client goodwill associated with a specific

geographic location or specific marketing or trade area, and extraordinary or

specialized training.” Id.

      369.    Counsel Holdings and its related entities had a legitimate business

interest in protecting their trade secrets, as well as in protecting the confidential

business and professional information that it gathered from candidates and clients

in the major legal markets all over the world which were not trade secrets, the

substantial relationships that it cultivated with specific candidates and clients in

the major legal markets all over the world, and the goodwill it had established with

candidates and clients in the major legal markets all over the world.

      370.    Counsel Holdings has established a prima facie case that its restrictive

covenants were reasonably necessary to protect its legitimate business interests.

      371.    Jowers has failed to provide any facts sufficient to support a conclusion

that the restrictive covenants in the Jowers Agreement were overbroad.

      372.    Jowers has failed to provide facts sufficient to support a conclusion

that the restrictive covenants in the Jowers Agreement were overlong.




MWK’S FINAL PROPOSED FF&CL                                                        PAGE 87
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 92 of 115




      373.   Jowers has failed to provide facts sufficient to support a conclusion

that the restrictive covenants in the Jowers Agreement were not reasonably

necessary to protect Counsel Holdings and its related entities’ legitimate business

interests.

      374.   For these reasons, the Court finds that Jowers’s seventh, eighth, and

ninth defenses fail.

             viii.     Illegality

      375.   A transaction is not illegal on grounds of usury unless the lender

exacts a greater compensation than allowed by law for the debtor’s use of the

money. First Bank v. Tony’s Tortilla Factory, Inc., 877 S.W.2d 285, 287 (Tex. 1994).

      376.   Neither KR-LLC nor any of its related entities exacted a greater

compensation than allowed by law for Jowers’s use of the money lent to him under

the 2012 Revolving Loan Agreement.

      377.   Jowers did not present any evidence to support a conclusion that the

2012 Revolving Loan Agreement is usurious or illegal in any of its terms.

      378.   The Jowers Agreement is controlled by Florida law. Florida has the

most significant relationship with the parties and the employment of Jowers. By his

own admission, Jowers has been domiciled in Florida at all times relevant to the

Jowers Agreement. (P-136). Other than his own assertions, not backed by evidence

or testimony of any expert, Jowers did not present evidence that any of the

provisions of the Jowers Agreement were illegal under Hong Kong law. See, Arbit.

Bet. Trans Chem. Ltd. and China, 978 F. Supp. 266, 275 (S.D. Tex. 1997) (“Under

Rule 44.1 expert testimony accompanied by extracts from foreign legal material is


MWK’S FINAL PROPOSED FF&CL                                                  PAGE 88
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 93 of 115




the basic method by which foreign law is determined.”). In any case, the parties did

not enter into the Jowers Agreement in 2006 with a view to violating Hong Kong

law. Access Telecom, Inc. v. MCI Telecommunications Corp., 197 F.3d 694, 707 (5th

Cir. 1999).

       379.    For these reasons, the Court finds that Jowers’s tenth defense

(Illegality) fails.

               ix.    Lack of Consideration and Failure of Consideration

       380.    As stated supra, the Court finds that consideration supported the

Jowers Agreement through its entirety. Accordingly, the Court finds that Jowers’s

eleventh and twelfth defenses fail.

       381.    In exchange for his continued employment, Jowers acquiesced to the

Jowers Agreement as well as the modifications to it. He continued to be paid until

his resignation December 16, 2016. Coastal Unilube, Inc. v. Smith, 598 So. 2d 200,

201 (Fla. Dist. Ct. App. 1992) (“Where employment was a continuing contract

terminable at the will of either employer or employee, the Florida Courts have held

continued employment constitutes adequate consideration to support a contract.”);

see also Open Magnetic Imaging, Inc. v. Nieves-Garcia, 826 So. 2d 415, 417–18 (Fla.

Dist. Ct. App. 2002). Because continued employment of Jowers constituted

sufficient consideration under Florida law, Jowers’s affirmative defense for lack or

failure of consideration fails.

               x.     Rescission

       382.    Jowers has not produced evidence sufficient to support a conclusion

that any of the agreements between him and his employer were obtained by fraud.


MWK’S FINAL PROPOSED FF&CL                                                 PAGE 89
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 94 of 115




         383.   Jowers has not produced evidence sufficient to support a conclusion

that any of the agreements between him and his employer were obtained by duress.

         384.   Jowers has not produced evidence sufficient to support a conclusion

that any of the agreements between him and his employer were materially breached

by his employer.

         385.   Accordingly, Jowers has no legally sufficient grounds for claiming the

right to rescission of any of the contracts between him and his employer. Therefore,

the Court finds that Jowers’s thirteenth defense fails.

                xi.   Unclean Hands

         386.   To avail itself of the defense of unclean hands, the defendant must

show that it was “personally” injured by the plaintiff's inequitable conduct. Mitchell

Bros. Film Grp. v. Cinema Adult Theater, 604 F.2d 852, 863 (5th Cir. 1979).

         387.   Jowers has not produced evidence sufficient to support a conclusion

that his employer acted in any manner contrary to the express terms of the Jowers

Agreement, the Forgivable Loan Agreement, or the 2012 Revolving Loan

Agreement.

         388.   Jowers has not produced evidence sufficient to support a conclusion

that his employer acted inequitably toward Jowers.

         389.   Jowers has not produced evidence sufficient to support a conclusion

that he sustained personal loss or injury due to the inequitable actions of his

employer.

         390.   For these reasons, the Court finds that Jowers’s fourteenth defense

fails.


MWK’S FINAL PROPOSED FF&CL                                                    PAGE 90
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 95 of 115




                xii.    Unconscionability

      391.      “The test for unconscionability assesses whether, in light of the parties’

general commercial background and needs, the provision is so unilateral as to have

been unconscionable at the time of formation. The objective is to prevent oppression

and unfair surprise, not to disturb the allocation of risks stemming from one party’s

superior bargaining position.” Davis v. EGL Eagle Global Logistics LP, 243 F. App’x

39, 45-46 (5th Cir. 2007) (citing In re FirstMerit Bank, N.A., 52 S.W.3d 749, 756

(Tex. 2001)).

      392.      The restrictive covenants included in the Jowers Agreement were not

unconscionable because their inclusion was solicited by Jowers himself. (P-17).

      393.      The restrictive covenants included in the Jowers Agreement were not

unconscionable because Jowers freely assented to the language and extent of the

restrictive covenants included in the agreement. (See, above, at 5).

      394.      The restrictive covenants included in the Jowers Agreement were not

unfairly surprising to Jowers at the time of formation.

      395.      The restrictive covenants included in the Jowers Agreement were not

oppressive to Jowers at the time of formation.

      396.      The restrictive covenants included in the Jowers Agreement did not

render the agreement unconscionable.

      397.      For these reasons, the Court finds that Jowers’s fifteenth defense fails.

                xiii.   Information Readily Ascertainable by Proper Means

      398.      In considering whether information is readily ascertainable, courts

have considered the expense of compiling it and the method used to acquire


MWK’S FINAL PROPOSED FF&CL                                                       PAGE 91
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 96 of 115




customer information. See Alliantgroup, L.P. v. Feingold, 803 F. Supp. 2d 610, 625–

26 (S.D. Tex. 2011). “Even if the information is readily available in the industry, it

will be protected if the competitor obtained it working for the former employer.” Id.

(citing Brummerhop, 840 S.W.2d at 633).

      399.   Because Jowers obtained the proprietary and confidential information

that he shared with others while he was still working for KR-LLC, that information

was not readily ascertainable by him through any other proper means. Accordingly,

the Court finds that Jowers’s sixteenth defense fails.

             xiv.   Independent Development

      400.   The Court finds that Jowers is unable to make the requisite showing

for independent development with regard to the trade secret information relating to

Steve Kang, James Chang, Longhao Wang, Pamela Usukumah, and Meng Ding.

Jowers did not independently develop the information regarding these candidates;

to the contrary, while he might have been working independently, he was an

employee of KR-LLC, and the work he did was for that entity. (See, above, at pages

16 to 25). Accordingly, the Court finds that Jowers’s seventeenth defense fails.

             xv.    Payment

      401.   Jowers has the burden of proving that the 2012 Revolving Loan

Agreement and associated 2012 Revolving Loan Promissory Note had been repaid,

as payment is an affirmative defense. See United States v. Central Gulf Lines, Inc.,

974 F.2d 621, 629-30 (5th Cir. 1992) (assigning the burden of proof to the party

pleading an affirmative defense); Federal Deposit Ins. Corp. v. Waldron, 630 F.2d




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 92
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 97 of 115




239, 241 (4th Cir. 1980); Desjardins v. Desjardins, 308 F.2d 111, 116 (6th Cir. 1962);

Current News Features v. Pulitzer Pub. Co., 81 F.2d 288, 290-91 (8th Cir. 1936).

      402.   Counsel   Holdings’s   possession   of   the   original   notes,   Jowers’s

acknowledgment that he executed them, and the fact that the notes were not

marked paid, “constituted prima facie proof that the notes remained unpaid.” The

Cadle Co. v. Reg. H, 21 S.W.3d 670, 675 (Tex. App. 2000) (citing Naylor v.

Gutteridge, 430 S.W.2d 726, 731 (Tex.App.-Austin 1968, writ ref'd n.r.e.).

      403.   Jowers has not established that the 2012 Revolving Loan promissory

note has been repaid. Branch Banking & Tr. Co. v. Swig Partners GP, LLC, No. 05-

15-00878-CV, at *7 (Tex. App. Dec. 13, 2017) (“Bank's records showing the loan as

having a zero-dollar balance did not establish” that the loan had been repaid.).

Accordingly, the Court finds that Jowers’s eighteenth defense fails.

      F.     Jowers’s Affirmative Claims

             i.    Hong Kong Office Expenses

      404.   The Court finds that Jowers has not produced evidence sufficient to

support a conclusion that a valid and enforceable contract existed between him and

his employer requiring the payment of unapproved Hong Kong Office expenses,

including the hotel expenses. Jowers was permitted reimbursement of “usual and

ordinary” expenses under the Jowers Agreement. (P-2, at 49). Jowers was aware

that expense reimbursement was subject to review and approval by MWK. MWK

produced evidence that Jowers was reimbursed for the vast majority of the expenses

he submitted. Id. Because no valid and enforceable contract existed requiring the

payment of Hong Kong Office expenses, and because Jowers did not present


MWK’S FINAL PROPOSED FF&CL                                                      PAGE 93
          Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 98 of 115




  evidence of unpaid expenses MWK had agreed to reimburse, Jowers’s employer did

  not breach any binding agreement with Jowers by refusing to pay Hong Kong Office

  expenses.

          405.   The Court finds that Jowers was never promised that his employer

  would pay for his rent at the Four Seasons Apartments. To the contrary, the

  evidence presented at trial demonstrated that Jowers was told that the costs would

  not be reimbursed and was urged not to incur the costs, but Jowers incurred them

  anyway by his own choice.

                 ii.   Hui Xu Placement Fee

          406.   The Court finds that Jowers was credited 100% of the placement

  commission for Hui Xu that was due to Jowers upon his resignation from KR-LLC

  this credit was applied by MWK against Jowers’s balance on the 2012 Revolving

  Loan.

III.      RESPONSES TO JOWERS’S PROPOSED FINDINGS AND
          CONCLUSIONS

          Jowers presented the following findings of fact as part of his submissions

  prior to the final pretrial conference. (Dkt. 305-4). To ease the task of the Court in

  preparing its findings and conclusions, MWK hereby responds to Jowers’s proposed

  findings and conclusions with references to the findings and conclusions above (and

  their associated record references) that deal with the same subject matter.

          Jowers’s Proposed Findings and Conclusions:

          1.     Jowers began working at Kinney Recruiting in April 2006. Jowers

  signed an Associate Recruiter Employment Agreement with Kinney Recruiting, L.P.


  MWK’S FINAL PROPOSED FF&CL                                                    PAGE 94
       Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 99 of 115




dated May 1, 2006. This agreement was executed in December of 2006 (the “Florida

Employment Agreement”). On December 16, 2016, Jowers resigned from Kinney

Recruiting LLC, a different entity.

      RESPONSE: Agreed.

      2.     Jowers original employer was Kinney Recruiting L.P. SAC ¶ 158.

“Kinney Recruiting L.P. (‘KR-LP’) was a Texas limited partnership that has ceased

operation.” SAC ¶ 11. Under the Florida Employment Agreement with Kinney

Recruiting, L.P., dated May 1, 2006, Jowers promised not to use or disclose any of

the “Company’s” proprietary information:

      7.2     At all times during and after Employee’s employment, the

      Employee shall not use or disclose to any person the Company’s

      Proprietary Information, except as such disclosure or use may be

      required in connection with the Employee’s employment, or unless the

      [sic] Robert Kinney expressly authorizes such in writing.

Dkt. 80-1 at pages 4-5 of 11. The “Company” under the agreement is Kinney

Recruiting, L.P. Id. at page 1 of 11.

      RESPONSE: Agreed, except Kinney Recruiting LP was a registered

assumed name for Recruiting Partners, L.P., a Texas limited partnership (P-1).

      3.     The Florida Employment Agreement provided for a salary of $3,000

per pay period, less applicable withholdings and deductions, paid monthly.

      RESPONSE: Agreed.




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 95
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 100 of 115




      4.     The Florida Employment Agreement provided for the following

compensation structure, based on “NET CASH IN,” defined as “the Employee’s

portion of all placement fees received and retained by the Company which result

from the placement of candidates with clients of the Company.”

      a.     45% of the first $75,000.

      b.     50% of the next $75,000.

      c.     55% of the next $75,000.

      d.     60% of the next $75,000.

      e.     65% of the excess over $300,000.

      RESPONSE: Agreed.

      5.     There was no evidence presented that the above amounts were ever

paid by Plaintiff or any other assignee of the Florida Employment Agreement.

      RESPONSE: Jowers was paid his commissions twice per month throughout

his employment with Kinney Recruiting. (See, above, at The commissions Jowers

was paid are detailed on the commission spreadsheets that are of record in the case.

(P-112 to P-120). Jowers also never declared a breach. He therefore may be deemed

to have acquiesced to any prior breaches. (See, above, at page 82).

      6.     Jowers’ compensation changed over the course of his employment. On

March 8, 2008, Plaintiff unilaterally amended the terms of the Florida Employment

Agreement by way of email. Under the new terms, Jowers, an employee, was now

obligated to pay the majority of Kinney Recruiting’s advertising expenses. Id. When




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 96
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 101 of 115




Jowers complained that this was unfair, Mr. Kinney responded by stating flatly “I

make the decisions and you follow orders. If you don’t want that job let me know.”

       RESPONSE: Jowers conceded in his testimony that the commission

structure set forth in his contract was the commission structure for 2007 until it

was changed in 2008. (Trans. II, at 191). Kinney testified that this was the case as

well. (Trans. I, at 67).

       7.     In January 2009, Plaintiff or its predecessor changed the agreement

unilaterally again, by way of an email dated January 28, 2009, titled “New Asia

Plan for 2009.” Among the changes where that “[Jowers] commissions go to 45%

across the board for 2009” but that Jowers’ “draws” (i.e. advances) would increase to

$8,200 per month, and Jowers would “make no contribution for expenses.” Notably,

Kinney also stated that the “noncompete will be amended to apply to Hong

Kong/China and be fully enforceable.” When Jowers complained about the change in

commissions from 65% to 45%, Kinney threatened to withhold Jowers’ wages: “I’m

not ponying up another $20K this month until I know you are aboard…” If Jowers

did not agree to commission changes, Jowers would be fired.

       RESPONSE: The testimony in this case showed that the changes to Jowers’s

compensation were discussed with him in advance. Jowers acquiesced to the

changes in each case. (See, above, at 12-13).

       8.     Mr. Jowers’ compensation was changed again in 2011 by Plaintiff, who

stated that at this point Mr. Jowers commissions would now be 50%.




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 97
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 102 of 115




        RESPONSE: Jowers lived under this commission structure for five years or

more.

        9.    In or about June 2015, Jowers moved to Hong Kong, where Jowers

lived and worked. At the time his employer presented an employment contract to

government authorities in Hong Kong, which is a requirement for foreigners doing

business in Hong Kong (the “Hong Kong Employment Agreement.”). There was

never a dispute throughout 2015 or 2016 as to whether the Hong Kong Employment

Agreement was operative.

        RESPONSE: Kinney sent a draft contract to the Kinney Recruiting

accounting firm in Hong Kong, not to any authorities. (Trans. II, at 23). There is no

evidence that the authorities in Hong Kong ever received an application for a work

visa. There was also no evidence presented at trial that there is any “requirement”

that foreigners doing business in Hong Kong have a work visa. Indeed, before covid

stopped the travel, gobs of regular business visitors to Hong Kong would travel

there and stay for great lengths of time on visitor visas. There was never a dispute

as to whether the Hong Kong Employment was operative because it was not

operative and no one thought it was, including Jowers.

        10.   On November 1, 2012, Evan P. Jowers and Counsel Unlimited LLC

entered into the Loan Agreement and Promissory Note (the “Line of Credit

Agreement”) at the rate of 17% per annum.

        RESPONSE: Agreed.




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 98
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 103 of 115




      11.    Plaintiff has not met its burden to demonstrate that Jowers owed any

sum certain regarding the Line of Credit. Jowers was told via email unequivocally

by the Kinney Entities accountant, Renee Sommers (“Ms. Sommers”) the same day

Jowers resigned on December 16, 2016 that the Counsel Unlimited Line of Credit

had been paid back. (Tauler Dec., Ex. 6)(“Yes, I think the remaining regular bonus

and Hui Xu commission will just cover the remaining balance, might be a few

hundred short.”).

      RESPONSE: At trial, MWK presented ample evidence to demonstrate the

balance owed on the 2012 Revolving Loan. (See, above, at 70)

      12.    Plaintiff also changed its own accounting of the amounts due on the

Line of Credit no less than four times during the pendency of this lawsuit. No

competent evidence was ever introduced to explain how the amounts were

calculated or why they were not paid back, as stated by Ms. Sommers.

      RESPONSE: The variations in the accountings provided by MWK were

explained at length at trial. (See, Trans. II, at 5-22). Jowers never provided an

accounting for either loan.

      13.    Even if there were some small amount due and owing, the amount

would have been completely covered by funds owed to Mr. Jowers for the placement

of Hui Xu, which Plaintiff retained completely for himself.

      RESPONSE: MWK demonstrated with an unchallenged accounting that

there was a balance owing on the loan even after a credit was applied for the

placement fee for Hui Xu.




MWK’S FINAL PROPOSED FF&CL                                               PAGE 99
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 104 of 115




       14.    Moreover, the evidence demonstrating the Plaintiff did not comply

with federal truth-in-lending act and local ordinances with respect to payday loans

was persuasive. The Truth in Lending Act requires that lenders who make over 25

loans in the year provide detailed disclosures to a debtor. These were never done.

Plaintiff also failed to register as a payday lender in the State of Texas or the City

of Austin.

       RESPONSE: The Court has already concluded that Jowers forfeited

arguments regarding the Truth in Lending Act and failure to register as a lender.

(Dkt. 285, at n. 5).

       16.    On February 1, 2012, Evan P. Jowers and Recruiting Partners GP, Inc.

entered into the Forgivable Loan Agreement and Promissory Note (the “2012

Forgivable Loan”).

       RESPONSE: Agreed.

       17.    No competent evidence was provided at trial demonstrating an amount

due and owing. Plaintiff has not produced admissible evidence that the $50,000 was

ever paid to Jowers, or how the balance came to be $24,603.47, only the same

spreadsheets that constantly changed, and whose entries were attorney/client

privileged.

       RESPONSE: Jowers conceded at trial that he received the $50,000 and that

the $25,982.18 balance sought on this loan by Counsel Holdings of is accurate.

(Trans. II, at 97-99).




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 100
         Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 105 of 115




          18.   Six attorneys placed by Jowers are alleged to be trade secrets of the

Kinney Entities, but Kinney has not demonstrated use of any information related to

these individuals caused Plaintiff damage.

          RESPONSE: The trade secrets and the damages related to their

misappropriation have been proven. (See, above, at pages 16 to 26 and pages 65

to 70).

          19.   The trade secrets that are in dispute in this case “are extremely

[ephemeral] trade secrets” owned by Plaintiff only for “some fleeting moment of

time.

          RESPONSE:      When    Jowers   produced   in   discovery   the   confidential

information that he had taken from Kinney Recruiting prior to his resignation, he

marked the material “attorneys’ eyes only.” (Trans. I, at 118-119). The use of the

word ephemeral was not intended to signify that trade secrets in the legal

recruiting industry were always of extremely short duration. (Trans. I, at 211-213).

          20.   No steps are taken to safeguard information provided by candidates.

Plaintiff does not require candidates to sign non-disclosure agreements. Candidates

often work with (and therefore provide the same information to) other recruiting

firms.

          RESPONSE: Other employees sign confidentiality agreements. (See, above,

at 67, ¶262).

          21.   No Kinney Entity possessed or owned any information regarding these

six candidates at the time of Mr. Jowers’ departure on December 16, 2016. No




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 101
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 106 of 115




information about these candidates was ever kept in any database belonging to

Plaintiff or its predecessors. Plaintiff used Salesforce, a software application, as the

only “database” that kept information. Plaintiff’s former employee testified that he

searched for any evidence of misconduct and found none. There were no other

databases owned by Plaintiff accessed by Jowers.

      RESPONSE: KR-LLC owned the trade secrets created by Jowers while he

was employed by KR-LLC. Jowers admittedly failed to use the MWK database to

input the information he had gathered, but that does not change the fact he was

working for KR-LLC.

      22.    Plaintiff failed to provide any evidence of any actual damages for its

misappropriation of trade secrets claims against Mr. Jowers Jowers only placed

three candidates of the six, and these were several months or sometimes years. No

evidence was presented of “lost profits.”

      RESPONSE: MWK is entitled to unjust enrichment damages, which consists

of disgorgement of Jowers’s unjust gains.

      23.    Plaintiff did not present any facts demonstrating that any of Jowers’

conduct caused him harm or damages. Plaintiff presented no evidence of actual

damages.

      RESPONSE: MWK has adequately proven its damages.

      24.    Plaintiff has not demonstrated that Kinney Recruiting, L.P. assigned

the Florida Employment Agreement to Plaintiff. There is no assignment of the

Florida Employment Agreement from Kinney Recruiting L.P. to any other entity.




MWK’S FINAL PROPOSED FF&CL                                                    PAGE 102
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 107 of 115




The only assignments inure to a firm called Recruiting Partners GP, Inc. (see

Exhibit 3 to the SAC, Dkt. 80-3); next, Kinney Recruiting LLC (see Exhibit 5 to the

SAC, Dkt. 80-5); and eventually MWK Recruiting LLC (see Exhibit 7 to the SAC,

Dkt. 80-7), which (in turn) allegedly converted itself into MWK Recruiting Inc. (the

Plaintiff in this action) on March 12, 2018 (see SAC ¶ 42), and is now Counsel

Holdings, Inc. However, the “Company” itself – Kinney Recruiting, L.P. – was never

a party to any of those assignments or transactions. Thus, there simply are no

alleged transactions by which MWK Recruiting Inc. (or Counsel Holdings, Inc.)

could plausibly have become an assignee and/or a successor of Kinney Recruiting,

L.P. or its contract with Jowers.

      RESPONSE: As detailed above, through assignment, Counsel Holdings Inc,

is the successor in interest to the relevant agreements in this case.

      25.    Furthermore, the assignment to MWK Recruiting LLC (dated January

31, 2017) did not make MWK Recruiting LLC the owner of any trade secrets

previously owned either by Kinney Recruiting, L.P. (the actual “Company”

mentioned in ¶ 7.2 of the Florida Employment Agreement of May 1, 2006) or by

Kinney Recruiting LLC (the alleged assignor). See Exhibit 7 to the SAC (Dkt. 80-7).

This assignment document only purported to assign the Florida Employment

Agreement “between Jowers and Recruiting Partners, L.P. [sic]” together with any

“claims or causes of action” that Kinney Recruiting LLC might have against Jowers.

Id., ¶ 1.b & 1.d. Again, there was no agreement “between Jowers and Recruiting

Partners, L.P.” that could have been assigned to MWK Recruiting LLC. Plainly, this




MWK’S FINAL PROPOSED FF&CL                                                PAGE 103
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 108 of 115




is because Jowers had only agreed to be employed by Kinney Recruiting, L.P., i.e.,

the “Company” that is also mentioned in ¶ 7.2 of the Florida Employment

Agreement. See Dkt. 80-1; see also SAC ¶ 158 (conceding that “Jower’s original

employer” was “Kinney Recruiting L.P.”). For that reason too, there were never any

claims or causes of action for trade secret misappropriation that Kinney Recruiting

LLC could have assigned on January 31, 2017 to MWK Recruiting LLC arising from

the Florida Employment Agreement because Kinney Recruiting LLC too was never

the assignee or successor of the “Company” under the Florida Employment

Agreement that contains the ¶ 7.2 confidentiality clause.

      RESPONSE: The trade secrets at issue in this case indisputably belonged to

KR-LLC when Jowers resigned. Jowers’s agreements were assigned as they were

permitted to be assigned under relevant law.

      26.    Jowers did not know of, consent to, or ratify Plaintiff’s purported

assignment of the Florida Employment Agreement to any other entity.

      RESPONSE: Jowers was well aware of who his employer was. He was not

asked to consent to the assignments. He ratified the assignment by continuing to

accept payment from his new employer after each move.

      27.    Plaintiff has also waived his right to recover based on the doctrine of

waiver. Plaintiff never informed Jowers of claims against him for any unpaid loans

until the time of the filing of his original lawsuit, several months after Jowers’

resignation from Plaintiff’s employ. Jowers was informed by Plaintiff’s accountant

that no money was due and owing on his loans. As such, Plaintiff has waived




MWK’S FINAL PROPOSED FF&CL                                                PAGE 104
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 109 of 115




enforcement of the loan obligations his legal representatives stated were satisfied in

2016.

        RESPONSE: Jowers waived presentment. The (incorrect) statement by

MWK’s accountant is not a basis for waiver.

        28.   Additionally, Plaintiff has waives the right to assert any amounts due

and owing on the loans since he stated at his deposition that he lacked any personal

knowledge of how any of the numbers were calculated and/or that the contents of

the loan calculation were privileged.

        RESPONSE: The Court does not find that the Plaintiff has waived the right

to present an accounting for the loans at issue. Jowers, on the other hand, never

presented his own accounting and admitted at trial that he authorized all charges

on the revolving loan and that the balance on the forgivable loan was outstanding.

        29.   The evidence demonstrates that Plaintiff never provided compensation

at the rate set forth in the Florida Employment Agreement, which sets forth a

payment schedule whereby Jowers would receive 65% of the fee received by his

employer.

        RESPONSE: The Whether Jowers was ever entitled to 65% of any individual

deal depended on two factors occurring: 1) the applicable scale of commissions must

go up to 65%; 2) Jowers’s placement activity had to reach the required level to

entitle him to 65%. Jowers testified that he was never paid 65%. Even if true, the

Court finds that there is insufficient evidence in the record to determine that his

placements had been sufficient to reach the 65% commission level.




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 105
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 110 of 115




      30.    Similarly, the evidence that the Hong Kong contract applies is

persuasive. Jowers moved to Hong Kong in June 2015. Kinney initiated the

paperwork for Mr. Jowers’s visa on June 13, 2016, which included the Hong Komg

contract.

      RESPONSE: The Court has already determined that Jowers failed to

present sufficient evidence of any sufficiently definite promise to justify Jowers’s

reliance on that promise and granted summary judgment on Jowers’s promissory

estoppel claims. (Dkt. 285, at 12-15).

      31.    Mr. Kinney also made false representations that his signature was

forthcoming, including on August 21, 2015 (“Ok. Next week.”) (Tauler Dec. ¶ 12, Ex.

K at 7); September 7, 2015 (“Is an electronic signature on the employment

documents sufficient?”) Id. at 5. In October, Mr. Jowers sent Kinney no less than

four emails asking for a status update and demonstrating increasing concern

regarding his continued work without a contract compliant with Hong Kong law.

(Dkt. 285, at 12-15).

      RESPONSE: The Court has already determined that Jowers failed to

present sufficient evidence of any sufficiently definite promise to justify Jowers’s

reliance on that promise and granted summary judgment on Jowers’s promissory

estoppel claims.

      32.    Jowers reasonably believed that the Hong Kong Contract was

operative. However, after Jowers resigned, Mr. Kinney asserted that there was no

Hong Kong Contract, and that, in reality, the 2006 contract signed by Kinney




MWK’S FINAL PROPOSED FF&CL                                                PAGE 106
        Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 111 of 115




Recruiting L.P. (dating back over a decade and spanning various different entities,

governed their relationship.

        RESPONSE: The Court has already ruled on summary judgment that the

statements Jowers relies on were not sufficiently definite to be considered promises

by Kinney. In proposed finding of fact number one, above, Jowers concedes that his

employer at the time of his resignation was Kinney Recruiting LLC. The Court finds

that Jowers’s employer at the time of his resignation was Kinney Recruiting LLC;

on the other had, had it been executed, the draft Hong Kong contract would have

created an employment relationship with Kinney Recruiting Limited. Jowers

testified at trial that Jowers knew that Kinney did not sign the agreement and that

Jowers had eventually begun to “lose faith” that Kinney would do so. (Trans. II, at

226).

        33.   The Florida Employment Agreement defines Company Proprietary

Information as including “information concerning the identity of clients and their

personnel,” however the identify of Plaintiff’s clients (all AmLaw 200 law firms) and

their personnel must be used in order for Jowers to continue his career as a legal

recruiter.

        RESPONSE: Neither the definition of Company Proprietary Information,

nor the restrictions on the use of that information contained in the Jowers

Agreement, even if Jowers had abided by them, prevented Jowers from continuing

his career as a legal recruiter. When Jowers agreed to those provisions, he agreed




MWK’S FINAL PROPOSED FF&CL                                                 PAGE 107
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 112 of 115




that, notwithstanding the restrictions, he could earn a livelihood. (Jowers

Agreement, P-2, signature page).

      34.    Company Proprietary Information also includes “all information

developed by its employees, whether or not during working hours, that is related to

Company’s business” including information “reproduced from the memory of the

employees.” This is impermissibly overbroad.

      RESPONSE: The definition of “Company Proprietary Information” in the

Jowers Agreement captures only the information related to the employer’s business

possessed by the employee, including from memory. (P-2, Definitions).

      35.    The restrictive covenants have no time limitation and are not limited

in time and as such are overlong.

      RESPONSE: This is not a correct characterization of the restrictive

covenants, which are limited to 12 months following the time when Jowers ceases

violating them, plus any period during which Jowers was in violation.

      36.    The Employment Agreement’s liquidated damages clause provides in

relevant part as follows:

      9.1 The actual damages resulting from violation of Sections 7 and/or 8
      of this Agreement by the Employee will be difficult or impossible to
      ascertain. In the event of such a violation, the Employees shall pay to
      the Company, upon demand, as liquidated damages, and not as a
      penalty, the following:

      9.1.l Any fee paid for services rendered in violation of Sections 7 and/or
      8, whether paid to the Employee or to any other person, firm, or entity;
      plus




MWK’S FINAL PROPOSED FF&CL                                                  PAGE 108
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 113 of 115




      9.1.2 All costs and expenses, including reasonable attorney’s fees,
      incurred by the Company in the enforcement of its rights relating to
      such violation

      9.4 The one-year time periods referred to in Section 8 shall be extended
      to include any period of time during which the Employee engages in
      activities constituting a. violation of that Section.


      RESPONSE: Agreed.

      37.       The Employment Agreement’s liquidated damages clause is also

overlong, overbroad, and not reasonably necessary since it automatically renews the

contract’s one-year limitation automatically without any time limit. Jowers could

not know what acts his former employer deemed a violation, or what conduct is a

violation, since Jowers no longer would have access to the Company’s Proprietary

Information as defined.

      RESPONSE: The Court has already determined that Jowers failed to raise a

defense of unenforceability regarding the liquidated damages clause. This issue was

not tried at trial. Further, there is no evidence to support the assertion that the

clause is unenforceable. (Dkt. 285, 19-21). Jowers failed to present evidence to rebut

the presumption that, because the restrictive covenant was intended to protect

trade secrets, a period of less than five years was reasonable. (See, above, at ¶331).

      38.       Plaintiff has not demonstrated that the restrictive covenants are

needed to protect a legitimate business interest. No evidence was presented at trial

to negate the premise that the restrictive covenants impose a greater restraint than

is necessary.




MWK’S FINAL PROPOSED FF&CL                                                   PAGE 109
      Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 114 of 115




      RESPONSE: There is ample evidence that the restrictive covenants were

intended to protect legitimate business interests of Kinney Recruiting. The Court

has determined that the Jowers Agreement is governed by Florida law. Florida law

does not establish a premise that the restrictive covenants impose a greater

restraint than is necessary; to the contrary, restrictive covenants that comply with

the statutory guidelines under Florida law are presumptively valid. Fla. Stat. §

542.335(1)(c).

      39.    Kinney’s multiple false declarations and perjurious statements under

oath to this Court demonstrate unclean hands.

      RESPONSE: There was no evidence of Kinney having made false statements

or perjurious statements. (Trans. I, at 1-246; Trans. II, at 1-54).




MWK’S FINAL PROPOSED FF&CL                                                PAGE 110
     Case 1:18-cv-00444-RP Document 342 Filed 02/10/22 Page 115 of 115




Dated: February 10, 2022                Respectfully Submitted

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MWK’S FINAL PROPOSED FF&CL                                           PAGE 111
